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                                                                           Order Filed on October 18, 2023
                                                                           by Clerk
                                                                           U.S. Bankruptcy Court
                                                                           District of New Jersey

      Caption in Compliance with D.N.J. LBR 9004-1(b)


      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY

      In re:                                                  Chapter 11

      RITE AID CORPORATION, et al.,                           Case No. 23-18993 (MBK)

                                      Debtors. 1              (Jointly Administered)


                       ORDER (I) APPROVING THE AUCTION AND
             BIDDING PROCEDURES, (I) APPROVING BIDDING PROCEDURES
             AND BID PROTECTIONS, (II) SCHEDULING CERTAIN DATES AND
            DEADLINES WITH RESPECT THERETO, (III) APPROVING THE FORM
            AND MANNER OF NOTICE THEREOF, (IV) APPROVING THE ELIXIR
          STALKING HORSE APA, (V) ESTABLISHING NOTICE AND PROCEDURES
         FOR THE ASSUMPTION AND ASSIGNMENT OF CONTRACTS AND LEASES,
      (VI)AUTHORIZING THE ASSUMPTION AND ASSIGNMENT OF ASSUMED CONTRACTS,
     (VII) AUTHORIZING THE SALE OF ASSETS, AND (VIII) GRANTING RELATED RELIEF

               The relief set forth on the following pages, numbered three (3) through and including

     twenty-one (21), is ORDERED.




DATED: October 18, 2023
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 Proposed Co-Counsel to the Debtors and Debtors in Possession




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                           (III) Approving the Form and Manner of Notice Thereof, (IV) Approving
                           the Elixir Stalking Horse APA, (V) Establishing Notice and Procedures for
                           the Assumption and Assignment of Contracts and Leases, (VI) Authorizing
                           the Assumption and Assignment of Assumed Contracts, (VII) Authorizing
                           the Sale of Assets, and (VIII) Granting Related Relief


         Upon the Debtors’ Motion Seeking Entry of an Order (I) Approving Bidding Procedures

 and Bid Protections, (II) Scheduling Certain Dates and Deadlines with Respect

 Thereto, (III) Approving the Form and Manner of Notice Thereof, (IV) Approving the Elixir

 Stalking Horse APA, (V) Establishing Notice and Procedures for the Assumption and Assignment

 of Contracts and Leases, (VI) Authorizing the Assumption and Assignment of Assumed Contracts,

 (VII) Authorizing the Sale of Assets, and (VIII) Granting Related Relief, 2 of the above-captioned

 debtors and debtors in possession (collectively, the “Debtors”), for entry of an order (this “Order”)

 (a) approving the proposed marketing, auction, and bidding procedures attached hereto as

 Exhibit 1 (the “Bidding Procedures”), by which the Debtors will solicit and select the highest or

 otherwise best offer(s) for the sale or sales (the “Sale Transactions”) of all, substantially all, or any

 portion of any of the Rite Aid Retail Assets and/or the Elixir Assets (the “Assets”); (b) approving

 the break-up fee and expense reimbursements relating to certain stalking horse bidders

 (the “Stalking Horse Bid Protections”); (c) establishing certain dates and deadlines related thereto

 and scheduling an auction or auctions, if any, for the Sale Transactions (the “Auctions”);

 (d) approving the manner of notice of the Auctions and any sale hearing (the “Sale Hearing”) as

 may be necessary; (e) approving and authorizing the Debtors to enter into a “stalking horse” asset

 purchase agreement (the “Elixir Stalking Horse APA”) with MedImpact Healthcare Systems, Inc.


 2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
     Bidding Procedures, as applicable.



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 (“MedImpact”), substantially in the form attached to the Bidding Procedures as Schedule 2;

 (f) approving procedures for the assumption and assignment of certain Executory Contracts and

 Unexpired Leases in connection with the Sale Transaction, if any; (g) providing that, in light of

 the fact that the Debtors’ privacy policy does not prohibit the transfer of personal identifiable

 information, the appointment of a consumer privacy ombudsman is not required; and (h) granting

 related relief, all as more fully set forth in the Motion; and upon the First Day Declaration; the

 Rifkin Declaration; the Cohen Declaration; and the Frejka Declaration filed in support of the

 Motion; and the Court having jurisdiction to consider the Motion and the relief requested therein

 pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference to the Bankruptcy

 Court Under Title 11 of the United States District Court for the District of New Jersey, entered

 July 23, 1984, and amended on September 18, 2012 (Simandle, C.J.); and this Court having found

 that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

 and 1409; and this Court having found that the relief requested in the Motion is in the best interests

 of the Debtors’ estates; and this Court having found that the Debtors’ notice of the Motion was

 appropriate under the circumstances and no other notice need be provided; and this Court having

 reviewed the Motion , the First Day Declaration, the Rifkin Declaration, the Cohen Declaration,

 and the Frejka Declaration, and having heard the statements in support of the relief requested

 therein at a hearing before this Court (the “Hearing”); and this Court having determined that the

 legal and factual bases set forth in the Motion establish just cause for the relief granted herein; and



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 upon all of the proceedings had before the Court and after due deliberation and sufficient cause

 appearing therefor IT IS HEREBY ORDERED THAT:

        1.      The Motion is GRANTED as set forth herein.

        2.      The Debtors have articulated good and sufficient reasons for authorizing and

 approving the Bidding Procedures, which are fair, reasonable, and appropriate under the

 circumstances and in the best interests of the Debtors’ estates.

        3.      The Debtors’ proposed notice of the Motion and the Hearing was adequate and

 sufficient under the circumstances of these chapter 11 cases, and no other or further notice is

 required.

        4.      All objections to the relief requested in the Motion that have not been withdrawn,

 waived, or settled prior to or at the Hearing are overruled.

 I.     Important Dates and Deadlines.

        A.      Elixir Dates and Deadlines.

        5.      Final Bid Deadline. November 16, 2023, at 5:00 p.m., prevailing Eastern Time,

 is the deadline by which all Qualified Bids for the Elixir Assets must be actually received by the

 parties specified in the Bidding Procedures.

        6.      Stalking Horse Bidders and Bid Protections. The Debtors are authorized to enter

 into the Elixir Stalking Horse APA with MedImpact, and the terms of the Elixir Stalking Horse

 APA are hereby approved. MedImpact shall be deemed an Elixir Stalking Horse Bidder and




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 Qualified Bidder and MedImpact’s Bid contemplated by the Elixir Stalking Horse APA shall be

 deemed a Qualified Bid.

        7.      The Bid Protections for the Elixir Stalking Horse Bidder are approved in their

 entirety and the amount of such Bid Protections as to MedImpact shall be an allowed

 administrative expense claim under section 503(b) of the Bankruptcy Code. The Debtors are

 authorized, but not directed, to pay any amounts that may become due to the Elixir Stalking Horse

 Bidder on account of the Bid Protections on the terms set forth in the Elixir Stalking Horse APA.

        8.      With respect to the Elixir Sale Transaction, no person or entity, other than

 MedImpact, shall be entitled to any expense reimbursement, breakup fees, “topping,” termination,

 or other similar fee or payment on account of the Elixir Assets, and by submitting a bid, such person

 or entity is deemed to have waived their right to request or to file with this Court any request for

 expense reimbursement or any fee of any nature, whether by virtue of section 503(b) of the

 Bankruptcy Code or otherwise.

        9.      Auction. The date and time of the Elixir Auction, if needed, is November 20, 2023,

 at 10:00 a.m. prevailing Eastern Time, for the Elixir Assets, which time may be extended by the

 Debtors in consultation with the Consultation Parties upon written notice with the Court.

 The Elixir Auction will be held at the offices of the proposed co-counsel to the Debtors: Kirkland

 & Ellis LLP, 601 Lexington Ave., New York, NY 10022. Except as otherwise determined by the

 Debtors, in consultation with the Consultation Parties, only the Debtors, the Consultation Parties,



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 the U.S. Trustee, any Qualified Bidders, and, in each case, the respective representatives and

 professionals of the foregoing parties, shall be entitled to participate in the Elixir Auction, and only

 Qualified Bidders will be entitled to make Overbids (as defined in the Bidding Procedures) at the

 Elixir Auction; provided, however, that any party in interest may attend the Elixir Auction. The

 Debtors shall send written notice of the date, time, and place of any Elixir Auction to the Qualified

 Bidders, the Consultation Parties, and the U.S. Trustee no later than two business days before such

 Elixir Auction, and will post notice of the date, time, and place of such Elixir Auction no later than

 two business days before such Elixir Auction on the website of the Debtors’ proposed notice,

 claims, and solicitation agent, Kroll Restructuring Administration LLC (the “Notice and Claims

 Agent”) at https://restructuring.ra.kroll.com/riteaid. For the avoidance of doubt, the Debtors may

 also conduct more than above-listed Elixir Auctions with respect to other non-overlapping material

 portions of the Debtors’ Elixir Assets.

         10.     Notice of Successful Bidder. As soon as reasonably practicable upon conclusion

 of any Auction, the Debtors shall file a Notice of Successful Bidder and Contract Assumption for

 the Elixir Assets, in substantially the form attached hereto as Exhibit 2.

         11.     Sale Objection Deadline.        Objections to the sale, if any, and any adequate

 assurance of future performance with respect to any Elixir Assets must be made by December 1,

 2023 at 4:00 p.m. prevailing Eastern Time.




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        12.     Sale Hearing. December 7, 2023, at 11:00 a.m., prevailing Eastern Time, is the

 date and time for the hearing for the Court to consider the Successful Bid or Successful Bids of

 the Elixir Assets, if needed. The proposed order approving the sale of the Elixir Assets shall be

 filed no later than five (5) days before the Sale Hearing.

        B.      Rite Aid Retail Dates and Deadlines.

        13.     Final Bid Deadline. November 30, 2023, at 5:00 p.m., prevailing Eastern Time,

 is the deadline by which all Qualified Bids for the Rite Aid Retail Assets must be actually received

 by the parties specified in the Bidding Procedures.

        14.     Stalking Horse Bidders and Bid Protections. The Debtors, upon entry of this

 Order, shall be authorized, but are not obligated or directed, in an exercise of their reasonable

 business judgment, in consultation with the Consultation Parties, provided, however, that to the

 extent any of the DIP Agents or the Ad Hoc Secured Noteholder Group submits a Bid for any Rite

 Aid Retail Assets, such DIP Agent or Ad Hoc Secured Noteholder Group shall not be a

 Consultation Party with respect to the evaluation and qualification of competing Bids for such Rite

 Aid Retail Assets included in such DIP Agent’s or Ad Hoc Secured Noteholder Group’s Bid or

 with respect to seeking and/or obtaining information about other Bids, but shall remain a

 Consultation Party for other purposes set forth in the Bidding Procedures, to select one or more

 Rite Aid Retail Stalking Horse Bidders with respect to some or all of the Debtors’ Rite Aid Retail

 Assets by no later than November 20, 2023, at 5:00 p.m., prevailing Eastern Time, and enter into




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 a Stalking Horse Agreement, and to provide such Stalking Horse Bidders with Stalking Horse

 Bid Protections without further action or order by this Court, provided that to the extent a Rite Aid

 Retail Stalking Horse Bidder has submitted a Credit Bid, the Stalking Horse Bid Protections shall

 not be provided.

        15.     With respect to a Rite Aid Retail Sale Transaction, no person or entity, other than

 any Rite Aid Retail Stalking Horse Bidder that has not submitted a Credit Bid, shall be entitled to

 any expense reimbursement, breakup fees, “topping,” termination, or other similar fee or payment

 on account of the Rite Aid Retail Assets, and by submitting a bid, such person or entity is deemed

 to have waived their right to request or to file with this Court any request for expense

 reimbursement or any fee of any nature, whether by virtue of section 503(b) of the Bankruptcy

 Code or otherwise.

        16.     In the event that the Debtors enter into a Stalking Horse Agreement with one or

 more Rite Aid Retail Stalking Horse Bidders, within two business days of entry, the Debtors shall

 file a notice and proposed form of order with the Court (the “Rite Aid Retail Stalking Horse

 Notice”) and serve the Rite Aid Retail Stalking Horse Notice on the Rite Aid Retail Stalking Horse

 Bidder, the Consultation Parties, and the U.S. Trustee. The Rite Aid Retail Stalking Horse Notice

 shall: (a) set forth the identity of the Rite Aid Retail Stalking Horse Bidder (and if the Rite Aid

 Retail Stalking Horse Bidder is a newly formed entity, then the Rite Aid Retail Stalking Horse

 Bidder’s parent company or sponsor); (b) set forth the amount of the Rite Aid Retail Stalking



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 Horse Bid and what portion (if any) is cash; (c) state whether the Rite Aid Retail Stalking Horse

 Bidder has any connection to the Debtors other than those that arise from the Rite Aid Retail

 Stalking Horse Bid; (d) specify any proposed Rite Aid Retail Stalking Horse Bid Protections

 (including the amount and calculation thereof); (e) specify the Assets included in the Rite Aid

 Retail Stalking Horse Bid; (f) attach the applicable Rite Aid Retail Stalking Horse Agreement,

 including all exhibits, schedules and attachments thereto; and (g) set forth the deadline to object to

 the Rite Aid Retail Stalking Horse Bidder designation and any Rite Aid Retail Stalking Horse Bid

 Protections. If there are no objections to the Rite Aid Retail Stalking Horse Notice within five days

 of filing with the Court, (the “Rite Aid Retail Stalking Horse Notice Period”), the Debtors may

 submit an order to the Court that incorporates any comments received during the Rite Aid Retail

 Stalking Horse Notice Period that authorizes the Debtors to designate an Rite Aid Retail Stalking

 Horse Bidder and to enter into an Rite Aid Retail Stalking Horse Agreement, without the need for

 further hearing. If a party timely files an objection to the Rite Aid Retail Stalking Horse Notice,

 the Court shall hold a hearing after the expiration of the Rite Aid Retail Stalking Horse Notice

 Period and as soon thereafter as the Court is available.

        17.     Auction. The date and time of the Rite Aid Retail Auction, if needed, is December

 4, 2023, at 10:00 a.m. prevailing Eastern Time, for the Rite Aid Retail Assets, which time may be

 extended by the Debtors in consultation with the Consultation Parties upon written notice with the

 Court. The Rite Aid Retail Auction will be held at the offices of the proposed co-counsel to the



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 Debtors: Kirkland & Ellis LLP, 601 Lexington Ave., New York, NY 10022. Except as otherwise

 determined by the Debtors, in consultation with the Consultation Parties, only the Debtors, the

 Consultation Parties, the U.S. Trustee, any Qualified Bidders, and, in each case, the respective

 representatives and professionals of the foregoing parties, shall be entitled to participate in the Rite

 Aid Retail Auction, and only Qualified Bidders will be entitled to make Overbids (as defined in

 the Bidding Procedures) at the Rite Aid Retail Auction; provided, however, that any party in

 interest, including any affected landlord, may attend any Auction. The Debtors shall send written

 notice of the date, time, and place of any Rite Aid Retail Auction to the Qualified Bidders, the

 Consultation Parties, and the U.S. Trustee no later than two business days before such Rite Aid

 Retail Auction, and will post notice of the date, time, and place of such Rite Aid Retail Auction

 no later than two business days before such Rite Aid Retail Auction on the website of the Debtors’

 Notice and Claims Agent at https://restructuring.ra.kroll.com/riteaid. For the avoidance of doubt,

 the Debtors may also conduct more than the above-listed Auctions with respect to other

 non-overlapping material portions of the Debtors’ Rite Aid Retail Assets.

        18.     Notice of Successful Bidder. As soon as reasonably practicable upon conclusion

 of any Auction, the Debtors shall file a Notice of Successful Bidder and Contract Assumption for

 the Rite Aid Retail Assets, in substantially the form attached hereto as Exhibit 2.




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        19.     Sale Objection Deadline.       Objections to the sale, if any, and any adequate

 assurance of future performance with respect to any Rite Aid Retail Assets must be made by

 December 15, 2023 at 4:00 p.m. prevailing Eastern Time.

        20.     Sale Hearing. December 19, 2023, at 11:00 a.m., prevailing Eastern Time, is the

 date and time for the hearing for the Court to consider the Successful Bid or Successful Bids of

 the Rite Aid Retail Assets, if needed.

 II.    Auction, Bidding Procedures, Auction Notice, and Related Relief.

        21.     The Bidding Procedures, substantially in the form attached hereto as Exhibit 1, are

 incorporated herein and are hereby approved in their entirety, and the Bidding Procedures shall

 govern the submission, receipt, and analysis of all Bids relating to any proposed Sale Transaction.

 Any party desiring to submit a Bid shall comply with the Bidding Procedures and this Order. The

 Debtors are authorized to take any and all actions necessary to implement the Bidding Procedures.

 Subject to the terms of the Bidding Procedures, the Debtors may modify the Bidding Procedures

 as necessary or appropriate to maximize value for their estates.

        22.     Any deposit (including any Good Faith Deposit) provided by a Qualified Bidder

 shall be held in escrow by the Debtors or their agent, and shall not become property of the Debtors’

 bankruptcy estates unless and until released from escrow to the Debtors pursuant to the terms of

 the applicable escrow agreement, the Bidding Procedures, or order of this Court, as applicable.




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         23.    Each Auction Notice, substantially in the forms attached as Schedules 1(a) and 1(b)

 to the Bidding Procedures, is hereby approved. As soon as reasonably practicable following entry

 of the Order, the Debtors will cause the Auction Notices to be served upon the following parties:

 (a) the office of the United States Trustee for the District of New Jersey; (b) the Debtors’ 50 largest

 unsecured creditors (on a consolidated basis); (c) the agents under the Prepetition Credit Facilities

 and counsel thereto; (d) the DIP Agents and counsel thereto; (e) Paul, Weiss, Rifkind, Wharton &

 Garrison LLP and Fox Rothschild LLP, as counsel to the Ad Hoc Secured Noteholder Group;

 (f) the indenture trustee to the Senior Secured Notes; (g) the indenture trustee to the Senior

 Unsecured Notes; (h) the United States Attorney’s Office for the District of New Jersey; (i) the

 Internal Revenue Service; (j) the U.S. Securities and Exchange Commission; (k) the attorneys

 general in the states where the Debtors conduct their business operations; (l) all parties who have

 expressed a written interest in the Assets; (m) all known holders of liens, encumbrances, and other

 claims secured by the Assets; (n) each governmental agency that is an interested party with respect

 to the Sale Transactions; and (o) any party that has requested notice pursuant to Bankruptcy Rule

 2002.

         24.    Pursuant to Local Rule 6004-2(c)(2): (a) each bidder participating at the Auction

 shall be required to confirm that it has not engaged in any collusion with respect to the bidding or

 the Sale, as set forth in the Bidding Procedures; (b) the Auction shall be conducted openly; and

 (c) the Auction shall be documented, recorded, or videotaped.



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                        (III) Approving the Form and Manner of Notice Thereof, (IV) Approving
                        the Elixir Stalking Horse APA, (V) Establishing Notice and Procedures for
                        the Assumption and Assignment of Contracts and Leases, (VI) Authorizing
                        the Assumption and Assignment of Assumed Contracts, (VII) Authorizing
                        the Sale of Assets, and (VIII) Granting Related Relief

 III.   Assumption and Assignment Procedures.

        25.     The procedures set forth below regarding the assumption and assignment of the

 Executory Contracts and Unexpired Leases proposed to be assumed by the Debtors pursuant to

 section 365(b) of the Bankruptcy Code and assigned to the Successful Bidder, if any, pursuant to

 section 365(f) of the Bankruptcy Code in connection with the Sale Transactions are hereby

 approved to the extent set forth herein.

        26.     These Assumption and Assignment Procedures shall govern the assumption and

 assignment of all of the Debtors’ Executory Contracts and Unexpired Leases to be assumed and

 assigned in connection with a Sale Transaction under any asset purchase agreement approved

 hereby, subject to any contract designation rights set forth in any purchase agreement and the

 payment of any amount necessary to cure all defaults as required under section 365(b) of the

 Bankruptcy Code (the foregoing amounts as stated in the Contract Assumption Notice, the “Cure

 Payments”):

                (a)     Notice of Successful Bidder and Contract Assumption. As soon as
                        reasonably practicable upon conclusion of any Auction, but in any event no
                        later than one day following such Auction, (the “Assumption and
                        Assignment Service Deadline”), the Debtors shall serve a notice of
                        contracts assumed and assigned to any Successful Bidder (the “Notice of
                        Successful Bidder and Contract Assumption”), in substantially the form
                        attached hereto as Exhibit 2 via first class mail on the applicable Executory
                        Contract or Unexpired Lease counterparties at the notice addresses set forth
                        in the applicable Executory Contract or Unexpired Lease and on their
                        counsel of record via email, each to the extent known, and provide a copy
                        of the same to the Consultation Parties. The Notice of Successful Bidder


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                    and Contract Assumption, with respect to the assumption and assignment
                    of Executory Contracts or Unexpired Leases, shall inform each recipient of
                    the timing and procedures relating to such assumption and assignment, and,
                    to the extent applicable, (i) the title of the Executory Contract or Unexpired
                    Lease, (ii) the name of the counterparty to the Executory Contract or
                    Unexpired Lease, (iii) Debtors’ good faith estimates of the Cure Payments,
                    if any, required in connection with the Executory Contract or Unexpired
                    Lease, and (iv) the applicable Sale Objection Deadline; provided, however,
                    that service of a Notice of Successful Bidder and Contract Assumption does
                    not constitute an admission that any Executory Contract or Unexpired Lease
                    listed thereon is an executory contract or that such stated Cure Payment
                    constitutes a claim against the Debtors or a right against any Successful
                    Bidder, all rights with respect thereto being expressly reserved. Further, the
                    inclusion of a contract on the Notice of Successful Bidder and Contract
                    Assumption is not a guarantee that such contract will ultimately be assumed
                    and assigned.

              (b)   Cure Payments. The payment of the applicable Cure Payments by the
                    Debtors and/or the Successful Bidder, as applicable, shall (i) effect a cure
                    of all defaults existing thereunder as required by section 365(b) of the
                    Bankruptcy Code and (ii) together with the assumption of the ultimately
                    assumed Executory Contract or Unexpired Lease by the Debtors and the
                    assignment of such Executory Contract or Unexpired Lease to the
                    Successful Bidder, constitute adequate assurance of future performance
                    thereof.

              (c)   Supplemental Contract Assumption Notice. To the extent the Debtors,
                    at any time after the Assumption and Assignment Service Deadline
                    (i) identify additional Executory Contracts or Unexpired Leases that may
                    be assumed by and assigned to the Successful Bidder, (ii) remove any
                    Executory Contracts or Unexpired Leases from the list attached to the
                    Notice of Successful Bidder and Contract Assumption, (iii) and/or modify
                    the previously stated Cure Payment associated with any Executory Contract



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                    or Unexpired Lease, the Debtors will promptly file with this Court and serve
                    by first-class mail a supplemental notice of contract assumption
                    (a “Supplemental Assumption Notice”) on each of the Executory Contract
                    or Unexpired Lease counterparties affected by the Supplemental
                    Assumption Notice. Each Supplemental Assumption Notice will include the
                    same information with respect to listed Executory Contracts or Unexpired
                    Leases as was included in the Notice of Successful Bidder and Contract
                    Assumption. Except as otherwise provided in any purchase agreement,
                    a Successful Bidder may designate additional Executory Contracts or
                    Unexpired Leases to be assumed and assigned up to two business days prior
                    to closing and may remove Executory Contracts or Unexpired Leases from
                    the list of Executory Contracts and Unexpired Leases up to two business
                    days prior to closing.

              (d)   Objections. Objections, if any, to the proposed assumption and assignment
                    or the Cure Payment proposed with respect thereto, must (i) be in writing,
                    (ii) comply with the applicable provisions of the Bankruptcy Rules, and the
                    Bankruptcy Local Rules, (iii) state with specificity the nature of the
                    objection and, if the objection pertains to the proposed Cure Payment, state
                    the correct Cure Payment alleged by the objecting counterparty, together
                    with any applicable and appropriate documentation in support thereof, and
                    (iv) be filed with the Court and served upon (a) proposed counsel to the
                    Debtors, (b) counsel to the Stalking Horse Bidder, if any, (c) the Elixir Bid
                    Notice Parties or Rite Aid Retail Notice Parties, and (d) any other party that
                    has filed a notice of appearance in these chapter 11 cases, so as actually to
                    be received on or before the Sale Objection Deadline or deadline set forth
                    in the Supplemental Assumption Notice, as applicable.

              (e)   Dispute Resolution. In the event that the Debtors and a counterparty to an
                    Executory Contract or Unexpired Lease cannot resolve an objection to a
                    Cure Payment, the Executory Contract or Unexpired Lease at issue may be
                    assumed by the Debtors and assigned to the Successful Bidder, provided
                    that the Debtors shall segregate the Cure Payment that the Executory



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                       Contract or Unexpired Lease counterparty asserts is required to be paid,
                       pending a resolution of the dispute by the Court or mutual agreement by the
                       parties. Any objection to the proposed assumption and assignment of an
                       Executory Contract or Unexpired Lease or related Cure Payment proposed
                       in connection with the Sale Transaction that remains unresolved as of the
                       Sale Hearing, shall be heard at the Sale Hearing (or at a later date as fixed
                       by the Court).

               (f)     Contract Assumption. No Executory Contract or Unexpired Lease shall
                       be deemed assumed and assigned pursuant to section 365 of the Bankruptcy
                       Code until the later of (i) the date the Court has entered an order assuming
                       and assigning such Executory Contract or Unexpired Lease or (ii) the date
                       the Sale Transaction has closed.

        27.    Any party failing to timely file an objection to the Cure Payments, adequate

 assurance of future performance, or the proposed assumption and assignment of an Executory

 Contract or Unexpired Lease is deemed to have consented to (a) such Cure Payment, (b) the

 assumption and assignment of such Executory Contract or Unexpired Lease, (c) the related relief

 requested in the Motion, (d) and adequate assurance of future performance, and (e) the Sale

 Transaction. Such party shall be forever barred and estopped from objecting to the Cure Payments,

 the assumption and assignment of the Executory Contract or Unexpired Lease, adequate assurance

 of future performance, the relief requested in the Motion, whether or not applicable law excuses

 such counterparty from accepting performance by, or rendering performance to, the Successful

 Bidder for purposes of section 365(c)(1) of the Bankruptcy Code and from asserting any additional




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 cure or other amounts against the Debtors and the Successful Bidder with respect to such party’s

 Executory Contract or Unexpired Lease.

        28.     The Debtors shall, concurrently with the Notice of Successful Bidder and Contract

 Assumption, provide evidence to each Executory Contract or Unexpired Lease counterparty that

 the Proposed Assignee of the Executory Contract or Unexpired Lease has the ability to comply

 with the requirements of adequate assurance of future performance; provided that any such

 evidence that constitutes nonpublic information shall be provided on a confidential basis. All

 Bidders are deemed to consent to the transmission of such evidence of adequate assurances of

 future performance on a confidential basis to counsel for the applicable Executory Contract or

 Unexpired Lease counterparties via email with such information to be used only for purpose of

 assessing the applicable Bidder.

 IV.    Miscellaneous.

        29.     Nothing in this Order or the Bidding Procedures shall be deemed a waiver of any

 rights, remedies or defenses that any party (including the sureties, the Debtors, the Debtors’

 lenders, and the agents under their respective credit agreements, the Stalking Horse Bidder, if

 applicable, or any other prospective purchaser) has or may have under applicable bankruptcy and

 non-bankruptcy law, under any indemnity agreements, surety bonds or related agreements or any

 letters of credit relating thereto, or any rights, remedies, or defenses of the Debtors with respect

 thereto, including seeking Bankruptcy Court relief with regard to the Auction, the Bidding




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 Procedures, the Sale Transaction, and any related items (including, if necessary, to seek an

 extension of the applicable Bid Deadline).

        30.     The Debtors are authorized to revise the Sale Schedule in consultation with the

 Consultation Parties. The Debtors are further authorized, but not directed, to conduct multiple

 Sale Transactions and/or Auctions (as necessary) in substantial conformity with the Sale Schedule

 and Bidding Procedures established through this Order.

        31.     The issue concerning whether an Ombudsman should be appointed pursuant to

 section 363(b)(1) of the Bankruptcy Code is carved out from this order and will be determined at

 a subsequent hearing to be held on November 16, 2023, at 1:00 p.m. The U.S. Trustee or any

 statutory committee appointed in these chapter 11 cases shall have ten days following the initial

 appointment of such statutory committee, to file pleadings concerning the appointment of an

 Ombudsman.

        32.     The failure to include or reference a particular provision of the Bidding Procedures

 in this Order shall not diminish or impair the effectiveness or enforceability of such a provision in

 the Bidding Procedures.

        33.     The Court, at the request of the Debtors in consultation with the Consultation

 Parties and subject to the Court’s availability, may modify the dates of and adjourn any hearing

 set by this Order without further Order of this Court, provided that the Debtors will serve notice

 to all requisite parties informing them of such modification.



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        34.     The Debtors, in consultation with the Consultation Parties, may modify any of the

 deadlines set forth herein or provide for additional deadlines within a Sale Schedule, provided that

 the Debtors will disclose all applicable deadlines in the applicable Auction Notice.

        35.     The Debtors may modify any Good Faith Deposit, in consultation with the

 Consultation Parties, as necessary or appropriate, based on the Assets being sold.

        36.     In the event of any inconsistencies between this Order and the Motion and/or the

 Bidding Procedures, this Order shall govern in all respects.

        37.     The Debtors are authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Order in accordance with the Motion.

        38.     Notwithstanding Bankruptcy Rule 6004(h), to the extent applicable, this Order shall

 be effective and enforceable immediately upon entry hereof.

        39.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

 of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

 by such notice.

        40.     The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

 accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

 or otherwise waived.

        41.     Any party may move for modification of this Final Order in accordance with Local

 Rule 9013-5(e).



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        42.     This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.




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                                   Exhibit 1

                              Bidding Procedures
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                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEW JERSEY


 In re:                                                       Chapter 11

 RITE AID CORPORATION, et al.,                                Case No. 23-18993 (MBK)

                                     Debtors. 1               (Jointly Administered)



                           BIDDING PROCEDURES FOR THE
                    SUBMISSION, RECEIPT, AND ANALYSIS OF BIDS IN
                 CONNECTION WITH THE SALE OF THE DEBTORS’ ASSETS

          On October 15, 2023 (the “Petition Date”), the above-captioned debtors and debtors in
 possession (collectively, the “Debtors”) filed voluntary petitions for relief under chapter 11 of
 title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), in the United
 States Bankruptcy Court for the District of New Jersey (the “Court”).

         The Debtors filed these chapter 11 cases after reaching an agreement in principle,
 memorialized in a term sheet (the “RSA Term Sheet”) [Docket No. 20, Ex. A], to conclude a
 Restructuring Support Agreement with the Ad Hoc Secured Noteholder Group. The RSA Term
 Sheet contemplates a chapter 11 plan of reorganization that provides for the equitization of some
 or all of the Senior Secured Notes Claims of Holders thereof into equity in New Rite Aid, after
 taking into account any sales consummated pursuant to these Bidding Procedures, including with
 respect to the Elixir Assets, through confirmation of the Plan (the “Plan Restructuring”).

        On the Petition Date, the Debtors filed the Joint Chapter 11 Plan of Reorganization of Rite
 Aid Corporation and Its Debtor Affiliates [Docket No. __] (the “Plan”) and the Disclosure
 Statement Relating to the Joint Chapter 11 Plan of Reorganization of Rite Aid Corporation and
 Its Debtor Affiliates [Docket No. __], each reflecting the terms of the Plan Restructuring.

         The Plan Restructuring, however, serves as a baseline restructuring proposal. The Plan
 also contemplates that the Debtors will continue their prepetition marketing and bidding process
 pursuant to the procedures contained herein (these “Bidding Procedures”). These Bidding
 Procedures will enable the Debtors to consummate alternative or complementary sale transactions
 in the event that the Debtors receive offers for any portion of the Assets, including the Rite Aid
 Retail Assets, that, in their reasonable business judgment, in consultation with the Consultation
 Parties, represent higher or otherwise better bids in comparison with the value provided by the
 Plan Restructuring. These Bidding Procedures also enable the Debtors to complete the prepetition

 1
      The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
      Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
      website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid.
      The location of Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in
      these chapter 11 cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
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 marketing process for the Elixir Assets through a value-maximizing Auction and Elixir Sale
 Transaction.

         On the Petition Date, the Debtors filed the Debtors’ Motion for Entry of an Order
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 Deadlines with Respect Thereto, (III) Approving the Form and Manner of Notice Thereof,
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 Assumption and Assignment of Contracts and Leases, (VI) Authorizing the Assumption and
 Assignment of Assumed Contracts, (VII) Authorizing the Sale of Assets, and (VIII) Granting
 Related Relief [Docket No. [__]] (the “Bidding Procedures Motion”), seeking approval of, among
 other things, these Bidding Procedures.

         On [__], 2023, the Court entered the Order (I) Approving Bidding Procedures and Bid
 Protections, (II) Scheduling Certain Dates and Deadlines with Respect Thereto, (III) Approving
 the Form and Manner of Notice Thereof, (IV) Approving the Elixir Stalking Horse APA,
 (V) Establishing Notice and Procedures for the Assumption and Assignment of Contracts and
 Leases, (VI) Authorizing the Assumption and Assignment of Assumed Contracts, (VII) Authorizing
 the Sale of Assets, and (VIII) Granting Related Relief [Docket No. [__]] (the “Bidding Procedures
 Order”), 2 by which the Court approved these Bidding Procedures. These Bidding Procedures set
 forth the process by which the Debtors are authorized to solicit bids for and conduct auctions
 (collectively, the “Auctions,” and each, an “Auction”) for a sale or disposition of all, any portion
 of, or substantially all of the Debtors’ Rite Aid Retail Assets, as a potential alternative to, or in
 conjunction with, the Plan Restructuring, and the Elixir Assets, or any portion thereof (collectively,
 the “Sale,” and each, a “Sale Transaction”).

        Any Sale will be implemented pursuant to section 363 of the Bankruptcy Code, pursuant
 to an amended Plan, or a combination thereof and any individual Sale Transaction may be
 implemented pursuant to section 363 of the Bankruptcy Code or the Plan.

 Copies of the Bidding Procedures Order or any other documents in the Debtors’ chapter 11 cases
 are available upon request to Kroll Restructuring Administration LLC by calling 844-274-2766
 (toll free) or +1 646-440-4878 (international) or visiting the Debtors’ restructuring website at
 (https://restructuring.ra.kroll.com/RiteAid).

 I.       Assets to be Auctioned.

          The Debtors are seeking to sell all of their Rite Aid Retail Assets and Elixir Assets or any
 portion thereof. These assets include, but are not limited to, the Debtors’ going-concern business,
 real and personal property, unexpired leases, executory contracts, equipment, inventory, supplies,
 intellectual property, insurance proceeds, prepaid expenses and deposits, prescription files and
 related records, and books and records, in each case, free and clear of all liens, claims, interests,



 2
      All capitalized terms used but not otherwise defined herein shall have the meanings given to them in the Bidding
      Procedures Motion, the Bidding Procedures Order, or the Plan as applicable.


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 or other encumbrances to the greatest extent permitted by the Bankruptcy Code and applicable
 non-bankruptcy law (collectively, the “Assets”).

 II.    Public Announcement of Auctions.

         Announcement of Elixir Auction. As soon as practicable after entry of the Bidding
 Procedures Order, the Debtors shall serve on the parties that receive notice of the Bidding
 Procedures Motion, (a) a notice setting forth (i) the date, time, and place of the (A) auction for the
 Elixir Assets (the “Elixir Auction”) and (B) the Elixir Sale Hearing (as defined below) and (ii) the
 deadlines and procedures for objecting to the proposed Elixir Sale Transaction(s), and
 (b) the Bidding Procedures Order and these Bidding Procedures in the applicable form attached
 hereto as Schedule 1(a) (the “Elixir Auction Notice”). As soon as practicable after entry of the
 Bidding Procedures Order, the Debtors shall also publish the Elixir Auction Notice, with any
 modifications necessary for ease of publication, in The New York Times (National Edition) to
 provide notice to any other potential interested parties. Finally, the Debtors shall post the Elixir
 Auction Notice on their case website, https://restructuring.ra.kroll.com/RiteAid. The Elixir
 Auction Notice shall include a complete list and general description of the Elixir Assets for sale
 (such Elixir Assets, the “Specified Elixir Assets”).

          Announcement of Rite Aid Retail Auction. As soon as practicable after entry of the
 Bidding Procedures Order, the Debtors shall serve on the parties that receive notice of the Bidding
 Procedures Motion, (a) a notice setting forth (i) the date, time, and place of the (A) auction for the
 Rite Aid Retail Assets (the “Rite Aid Retail Auction”) and (B) the Rite Aid Retail Sale Hearing
 (as defined below) and (ii) the deadlines and procedures for objecting to the proposed Rite Aid
 Retail Sale Transaction(s), and (b) the Bidding Procedures Order and these Bidding Procedures in
 the applicable form attached hereto as Schedule 1(b) (the “Rite Aid Retail Auction Notice”). As
 soon as practicable after entry of the Bidding Procedures Order, the Debtors shall also publish in
 The New York Times (National Edition) to provide notice to any other potential interested parties
 the Rite Aid Retail Auction Notice. Finally, the Debtors shall post the Rite Aid Retail Auction
 Notice on their case website, https://restructuring.ra.kroll.com/RiteAid. The Rite Aid Retail
 Auction Notice shall include a complete list and general description of the Rite Aid Retail Assets
 for sale (such Rite Aid Retail Assets, the “Specified Rite Aid Retail Assets”).

 III.   Potential Bidder Requirements.

         To participate in the bidding process or otherwise be considered for any purpose hereunder,
 including to receive access to due diligence materials, a person or entity interested in purchasing
 the Assets or part of the Assets (a “Potential Bidder”) must deliver or have previously delivered to
 (a) proposed co-counsel to the Debtors, Kirkland & Ellis LLP, New York, New York 10022, Attn:
 Joshua A. Sussberg, P.C. (joshua.sussberg@kirkland.com), Aparna Yenamandra, P.C.
 (aparna.yenamandra@kirkland.com), and Ross J. Fiedler (ross.fiedler@kirkland.com), 300 North
 LaSalle, Chicago, Illinois 60654, Attn: Steve Toth (steve.toth@kirkland.com), (b) proposed
 co-counsel to the Debtors, Cole Schotz P.C., Court Plaza North, 25 Main Street, Hackensack, New
 Jersey 07601, Attn: Michael D. Sirota (msirota@coleschotz.com), Warren A. Usatine
 (wusatine@coleschotz.com), Felice R. Yudkin (fyudkin@coleschotz.com), and Seth Van Aalten
 (svanaalten@coleschotz.com), and (c) proposed investment banker to the Debtors, Guggenheim
 Securities, LLC, 330 Madison Avenue, New York, New York 10017, Attn: Brendan Hayes

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 (brendan.hayes@guggenheimpartners.com),                                      Casey                         Cohen
 (casey.cohen@guggenheimpartners.com),                                  Matthew                       Scheidemann
 (matthew.scheidemann@guggenheimpartners.com),                            and       Jeffrey               Kirshner
 (jeffrey.kirshner@guggenheimpartners.com), the                     following preliminary            documentation
 (collectively, the “Preliminary Bid Documents”):

           a.       an executed confidentiality agreement (a “Confidentiality Agreement”) in form and
                    substance acceptable to the Debtors;

           b.       sufficient information that the Potential Bidder has or can reasonably obtain the
                    financial capacity to close a purchase of any portion, all, or substantially all of the
                    Debtors’ Assets, the adequacy of which must be acceptable to the Debtors, in
                    consultation with the Consultation Parties; 3 and

           c.       a statement detailing whether the Potential Bidder is partnering with or otherwise
                    working with any other interested party in connection with the potential submission
                    of a joint Bid, the identity of any such party or parties, and a concise description of
                    the nature of such partnership or joint Bid to the extent reasonably practicable.

        The Debtors, in consultation with their advisors, will determine and notify each Potential
 Bidder whether such Potential Bidder has submitted adequate documents so that such Potential
 Bidder may proceed to conduct due diligence and submit a bid (such Potential Bidder,
 an “Acceptable Bidder”). Notwithstanding anything to the contrary herein, the DIP Agents and
 the Ad Hoc Secured Noteholder Group shall each be an Acceptable Bidder for any Sale.

 IV.       Preliminary Indications of Interest with Respect to Rite Aid Retail Assets

          In order to be eligible to submit a Bid for Rite Aid Retail Assets, Acceptable Bidders will
 first be required to submit a non-binding indication of interest (an “Rite Aid Retail IOIs”) not later
 than 4:00 p.m. (prevailing Eastern Time) on November 16, 2023 (the “Rite Aid Retail IOI
 Deadline”), to the Rite Aid Retail Bid Notice Parties (as defined below); provided that the Debtors
 may extend the Rite Aid Retail IOI Deadline or waive the requirement of a Rite Aid Retail IOI for
 one or more Acceptable Bidders, without further order of the Court.

        Each Rite Aid Retail IOI must include, except as the Debtors, in consultation with the
 Consultation Parties, otherwise determine:

           (i)      a letter outlining the Acceptable Bidder’s offer, form(s) of consideration, any
                    conditions precedent (other than the sufficiency of financing) and stating that the

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       “Consultation Parties” means the Prepetition Agent and the DIP Agents (collectively, the “DIP Agents”) and the
       Ad Hoc Secured Noteholder Group, and any of their respective designees, and any official committee of
       unsecured creditors appointed in these chapter 11 cases; provided, however, that to the extent any of the DIP
       Agents or the Ad Hoc Secured Noteholder Group submits a Bid for any Assets, such DIP Agent or Ad Hoc
       Secured Noteholder Group shall not be a Consultation Party with respect to the evaluation and qualification of
       competing Bids for such Assets included in such DIP Agent’s or Ad Hoc Secured Noteholder Group’s Bid or
       with respect to seeking and/or obtaining information about other Bids, but shall remain a Consultation Party for
       other purposes set forth in the Bidding Procedures.


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                Acceptable Bidder is prepared to work in good faith to acquire the Rite Aid Retail
                Assets and finalize a binding proposal by the applicable Bid Deadline (as defined
                below);

        (ii)    written evidence acceptable to the Debtors demonstrating financial wherewithal
                and a description of any corporate or governmental authorizations necessary to
                consummate the proposed Rite Aid Retail Sale Transaction;

        (iii)   the identification of the ultimate beneficial owners of the Acceptable Bidder;

        (iv)    a description of all remaining due diligence requirements and any material
                conditions to be satisfied prior to submission of a Bid; and

        (v)     to the extent known at the time of the Rite Aid Retail IOI, any obligations related
                to employees of the Debtors the Acceptable Bidder may assume.

 V.     Qualified Bid Requirements.

        To participate in any Auction, an Acceptable Bidder must deliver to the Debtors and their
 above-referenced advisors an irrevocable offer for the purchase of some or all of the Assets (each,
 a “Bid”), and shall meet the following criteria, in each case, on or prior to the applicable Bid
 Deadline (as defined below):

        a.      Purchased Assets and Assumed Liabilities: Each Bid must clearly state the
                following: (a) the particular Assets, including Elixir Assets, or the portion thereof
                identified with reasonable specificity, to be purchased; (b) the liabilities and
                obligations to be assumed, including any debt and cure costs to be assumed; and
                (c) as applicable, whether the Acceptable Bidder intends to operate the Debtors’
                business as a going concern.

        b.      Good Faith Deposit: Except with respect to a credit bid (a “Credit Bid”), the Bid
                must be accompanied by a cash deposit in the amount equal to 10% of the aggregate
                purchase price of the Bid to be held in an interest-bearing escrow account to be
                identified and established by the Debtors (the “Good Faith Deposit”); provided, that
                the DIP Agents and the Ad Hoc Secured Noteholder Group (or their designees)
                shall not be required to submit a Good Faith Deposit. To the extent that a Bid is
                modified at or prior to the Auction, the applicable Acceptable Bidder must adjust
                its Good Faith Deposit so that it equals 10% of the increased aggregate purchase
                price promptly and in no event later than one (1) business day following the
                conclusion of the applicable Auction;

        c.      Purchase Price: Each Bid must (a) clearly set forth the purchase price to be paid,
                assuming a purchase of the applicable Assets and any assumption of liabilities
                (the “Purchase Price”), (b) identify separately the cash and non-cash components
                of the Purchase Price, and (c) indicate the allocation of the Purchase Price among
                the applicable Assets; provided that, for the avoidance of doubt, such allocation
                shall be nonbinding on any third party, including with respect to the application of
                proceeds pursuant to the Financing Orders and the DIP Documents (as defined in

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            the Financing Orders) and shall not prejudice the rights of any party in interest to
            contest such allocation. The Purchase Price should be a single point value in
            U.S. Dollars for the applicable Assets on a cash-free, debt-free basis. Any Bid for
            substantially all of the Assets must also include a statement as to whether the Bid
            is conditioned on purchasing all Assets or whether the Qualified Bid should be
            viewed as separate Bid for one or more sets of Assets;

      d.    Same or Better Terms; Bid Documents: Each Bid must include duly executed
            and non-contingent, where applicable, transaction documents necessary to
            effectuate the transactions contemplated in the Bid (the “Bid Documents”).
            The Bid Documents shall include: (a) a form of purchase agreement; (b) a schedule
            of contracts and leases to be assumed to the extent applicable to the Bid, (c) with
            respect to the purchase agreement, a redline of such agreement marked to reflect
            the amendments and modifications made to a form of the applicable purchase
            agreement that the Debtors shall make available to Acceptable Bidders via the
            Debtors’ electronic data room pursuant to the due diligence process, (d) any other
            material documents integral to such Bid, and (e) a statement from the Acceptable
            Bidder that (i) it is prepared to enter into and consummate the transactions
            contemplated in the form purchase agreement, no later than ten (10) business days
            after the conclusion of the Auction, subject to any necessary regulatory approvals,
            as specified by the Acceptable Bidder (or, if no Auction is held, the applicable
            deadline by which all binding Bids must be actually received pursuant to the
            Bidding Procedures), and (ii) the Qualified Bid will be irrevocable (whether or not
            such Qualified Bid is selected as the Successful Bid or next highest or otherwise
            best bid (the “Back-Up Bid”)) until the consummation of the Sale Transaction;

      e.    No Qualified Bidder Bid Protections: Unless such Qualified Bid is selected as a
            Stalking Horse Bid, a Qualified Bid must include a statement that the bid does not
            entitle such bidder to any break-up fee, termination fee, expense reimbursement, or
            similar type of payment or reimbursement and a waiver of any substantial
            contribution administrative expense claim under section 503(b) of the Bankruptcy
            Code related to bidding for the applicable Assets;

      f.    Employee Obligations: Each Bid must indicate whether the Acceptable Bidder
            intends to hire all employees who are primarily employed in connection with
            the applicable Assets included in such Bid. If the Acceptable Bidder does not
            intend to hire all employees who are primarily employed in connection with the
            applicable Assets included in such Bid, the Acceptable Bidder must include a
            description of the Acceptable Bidder’s intentions with respect to the relevant
            members of the Debtors’ current management team and other employees who are
            primarily employed in connection with the applicable Assets, and a description of
            any contemplated incentive plan, to the extent applicable;

      g.    Sources of Financing: To the extent that the Bid is not accompanied by evidence
            of the Acceptable Bidder’s capacity to consummate the Sale Transaction set forth
            in its Bid with cash on hand, the Bid must include committed financing,
            documented to the Debtors’ satisfaction, in consultation with the Consultation

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            Parties, that demonstrates that the Acceptable Bidder has received sufficient debt
            and/or equity funding commitments to satisfy the Acceptable Bidder’s obligations
            under the proposed Sale Transaction and other obligations under its Bid, including
            providing adequate assurance of future performance under all Contracts proposed
            to be assumed by such Bid. Such funding commitments or other financing must be
            unconditional and must not be subject to any internal approvals, syndication
            requirements, diligence, or credit committee approvals, and shall have covenants
            and conditions acceptable to the Debtors;

      h.    Contingencies; No Financing or Diligence Outs: The Bid must not be
            conditioned on the obtaining or the sufficiency of financing, any internal approval,
            or on the outcome or review of due diligence, but may be subject to the accuracy at
            the closing of specified representations and warranties, which shall not be more
            burdensome, in the Debtors’ reasonable business judgment, than those
            contemplated by the Stalking Horse Bid, if any. All diligence must be completed
            before the Bid Deadline.

      i.    Identity: Each Bid must fully disclose the identity of each entity and each entity’s
            shareholders, partners, investors, and ultimate controlling entities that will be
            bidding for or purchasing the applicable Assets or otherwise participating in
            connection with such Bid, and the complete terms of any such participation, along
            with sufficient evidence that the Acceptable Bidder is legally empowered to
            complete the transactions on the terms contemplated by the parties. Each Bid must
            also include contact information for the specific person(s) whom Guggenheim
            Securities, LLC (“Guggenheim Securities”) and Kirkland & Ellis LLP (“Kirkland
            & Ellis”) should contact regarding such Bid;

      j.    As-Is, Where-Is: Each Bid must include a written acknowledgement and
            representation that the Acceptable Bidder: (i) has had an opportunity to conduct
            any and all due diligence prior to making its offer; (ii) has relied solely upon its
            own independent review, investigation, and/or inspection of any documents and/or
            the assets in making its Bid; and (iii) did not rely upon any written or oral
            statements, representations, promises, warranties, or guaranties whatsoever,
            whether express, implied, by operation of law, or otherwise, by the Debtors,
            Guggenheim Securities, Kirkland & Ellis, or the Debtors’ other advisors regarding
            the completeness of any information provided in connection therewith, except,
            solely with respect to the Debtors, as expressly stated in the Acceptable Bidder’s
            proposed purchase agreement;

      k.    Authorization: Each Bid must contain evidence that the Acceptable Bidder has
            obtained all necessary authorizations or approvals from its shareholders and/or its
            board of managers or directors, or any other internal and other approvals, as
            applicable, with respect to the submission of its Bid and the consummation of the
            transactions contemplated in such Bid;

      l.    Joint Bids: The Debtors will be authorized to approve joint Bids in their reasonable
            business judgment, in consultation with the Consultation Parties, on a case-by-case

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            basis, so long as a joint bid meets the Qualified Bid Requirements, and the
            applicable bidders otherwise comply with these Bidding Procedures;

      m.    Adequate Assurance of Future Performance: Each Bid must (i) identify any
            then-known executory contracts (the “Executory Contracts”) and unexpired leases
            (the “Unexpired Leases”) to be assumed and assigned in connection with the
            proposed Sale Transaction, (ii) provide for the payment of all cure amounts (“Cure
            Amounts”) related to such then-known Executory Contracts or Unexpired Leases
            by the Acceptable Bidder and (iii) demonstrate, in the Debtors’ reasonable business
            judgment, in consultation with the Consultation Parties, that the Acceptable Bidder
            can provide adequate assurance of future performance under all such then-known
            Executory Contracts and Unexpired Leases sufficient to satisfy the requirements of
            sections 365(b)(3) and 365(f)(2)(B) of the Bankruptcy Code, and (iv) provide the
            following documentation:

                    (a)    The legal name of the proposed assignee of such then-known
                           Executory Contracts or Unexpired Leases (the “Proposed
                           Assignee”) and any guarantors, as applicable;

                    (b)    Financial statements for the calendar or fiscal years ended 2021 and
                           2022 for the Proposed Assignee and any guarantors, as applicable,
                           and other financial information about the Proposed Assignee to
                           demonstrate its ability to provide adequate assurance of future
                           performance;

                    (c)    With respect to a Bid for the Rite Aid Retail Assets, summary
                           documentation regarding the Proposed Assignee’s and any
                           guarantor’s, as applicable, retail experience and present retail
                           operations; and

                    (d)    With respect to a Proposed Assignee of an Unexpired Lease
                           identified in a Bid for the Rite Aid Retail Assets, a summary of the
                           Proposed Assignee’s proposed use of the premises;

      n.    Acknowledgement of Compliance with Bidding Procedures, Bidding Order,
            Bankruptcy Code, and Non-Bankruptcy Law: Each Bid must acknowledge its
            compliance in all respects with these Bidding Procedures, the Bidding Procedures
            Order, Bankruptcy Code and any applicable non-bankruptcy law;

      o.    Privacy Policy: The Acceptable Bidder must comply in all respects with the
            Debtors’ consumer privacy policy, which does not restrict the transfer of the
            personally identifiable information of its customers, and each Bid must contain a
            statement acknowledging such compliance;

      p.    No Collusion: The Acceptable Bidder must acknowledge in writing (a) that it has
            not engaged in any collusion with respect to any Bids or the Sale Transaction,
            specifying that it did not agree with any Acceptable Bidders or Potential Bidders to
            control price; and (b) agree not to engage in any collusion with respect to any Bids,
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            the Auction, or the Sale Transaction. For the avoidance of doubt, this requirement
            does not restrict Potential Bidder(s) from working with other Potential Bidder(s),
            the DIP Agents, or the Ad Hoc Secured Noteholder Group with the Debtors’ prior
            written consent (email shall suffice).

      q.    Good Faith Offer: The Bid must constitute a good faith, bona fide offer to
            consummate the Sale Transaction;

      r.    Irrevocable: Each Bid must state that in the event such Bid is chosen as the
            Back-Up Bid (as defined below), it shall remain irrevocable until the Debtors and
            the Successful Bidder consummate the applicable Sale Transaction;

      s.    Back-Up Bid: Each Bid shall provide that the Acceptable Bidder will serve as a
            Back-Up Bidder (as defined below) if the Acceptable Bidder’s Bid is the next
            highest or otherwise best bid;

      t.    Regulatory Approvals and Covenants: A Bid must set forth each regulatory and
            third-party approval required for the Acceptable Bidder to consummate the
            applicable Sale Transaction, if any, and the time period within which the
            Acceptable Bidder expects to receive such regulatory and third-party approvals
            (and in the case that receipt of any such regulatory or third-party approval is
            expected to take more than thirty days following execution and delivery of the
            applicable purchase agreement and/or confirmation of the Plan, those actions the
            Acceptable Bidder will take to ensure receipt of such approvals as promptly as
            possible);

      u.    Expected Closing Date: Each Bid must state the Acceptable Bidder’s expected
            date of closing of the applicable Sale Transaction;

      v.    Time Frame for Closing: A Bid by an Acceptable Bidder must be reasonably
            likely (based on antitrust or other regulatory issues, experience, and other
            considerations) to be consummated, if selected as the Successful Bid (as defined
            herein), within a time frame acceptable to the Debtors, in consultation with the
            Consultation Parties;

      w.    No Fees: Except to the extent the Acceptable Bidder is entitled to the Stalking
            Horse Bid Protections as a Stalking Horse Bidder, each Acceptable Bidder
            presenting a Bid or Bids will bear its own costs and expenses (including legal fees)
            in connection with the proposed transaction, and by submitting its Bid(s) is agreeing
            to disclaim any right to receive a fee analogous to a break-up fee, expense
            reimbursement, termination fee, or other similar form of compensation; provided,
            however, that nothing in these Bidding Procedures shall limit, alter or impair the
            rights of any party to payment and reimbursement of expenses that are set forth in
            the DIP Orders, and parties entitled to payment or reimbursement of expenses under
            the DIP Orders shall be entitled to payment or reimbursement of expenses incurred
            in connection with these Bidding Procedures and the matters contemplated hereby;



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                For the avoidance of doubt, each Acceptable Bidder (except with respect to the DIP
                Agents and the Ad Hoc Secured Noteholder Group and any of their respective
                designees) by submitting its Bid is agreeing to refrain from and waive any assertion
                or request for reimbursement on any basis, including under section 503(b) of the
                Bankruptcy Code; provided that the Debtors are authorized in their reasonable
                business judgment, in consultation with the Consultation Parties and in a manner
                consistent with the Financing Orders (as defined in the Plan) to provide the Stalking
                Horse Bid Protections to the stalking horse bidders (each, a “Elixir Stalking Horse
                Bidder” or “Rite Aid Retail Stalking Horse Bidder,” and together, the “Stalking
                Horse Bidders”) in connection with any stalking horse agreement (each, a “Stalking
                Horse Agreement”) in accordance with these Bidding Procedures; provided, that to
                the extent such Stalking Horse Bidder has submitted a Credit Bid, the Stalking
                Horse Bid Protections shall not be provided;

        x.      Adherence to Bidding Procedures: By submitting its Bid, each Acceptable
                Bidder is agreeing to abide by and honor the terms of these Bidding Procedures and
                agrees not to submit a Bid or seek to reopen the Auction after conclusion of the
                Auction;

        y.      Consent to Jurisdiction: The Acceptable Bidder must submit to the jurisdiction
                of the Court and waive any right to a jury trial in connection with any disputes
                relating to the Debtors’ qualification of Bids, to the Auction, the Sale, the Sale
                Transaction(s) and the construction and enforcement of these Bidding Procedures,
                any written indications of interest, Preliminary Bid Documents, the Bids, the Bid
                Documents, and any and all other agreements entered into in connection with any
                proposed Sale Transaction, and the closing, as applicable; and

        z.      Conditions to Closing: Each Bid must identify with particularity each and every
                condition to closing, including any then-known Executory Contracts and Unexpired
                Leases for which assumption and assignment is required.

         Only Bids, whether for Elixir Assets or Rite Aid Retail Assets, fulfilling all of the preceding
 requirements contained in this section may, or otherwise in the Debtors’ reasonable business
 judgment, in consultation with the Consultation Parties, be deemed to be “Qualified Bids,” and
 only those parties submitting Qualified Bids may, at the Debtors’ reasonable business judgment,
 be deemed to be “Qualified Bidders;” provided that notwithstanding anything to the contrary
 herein, any Bid submitted by the DIP Agents or the Ad Hoc Secured Noteholder Group (or their
 designees) shall be Qualified Bids.

         Neither the Debtors nor any of their advisors are making or have at any time made any
 warranties or representations of any kind or character, express or implied, with respect to the
 Assets, including, but not limited to, any warranties or representations as to operating history or
 projections, valuation, governmental approvals, the compliance of the Assets with governmental
 laws, the truth, accuracy, or completeness of any documents related to the Assets, or any other
 information provided by or on behalf of the Debtors to a bidder, or any other matter or thing
 regarding the Assets. All bidders must acknowledge and agree that upon closing the Debtors shall
 sell and transfer to the Successful Bidder and the Successful Bidder shall accept the applicable

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 Assets, except to the extent expressly provided in the Bankruptcy Court’s order approving the Sale
 Transaction. Neither the Debtors nor any of their advisors will be liable for or bound by any
 express or implied warranties, guaranties, statements, representations, or information pertaining to
 the Assets or relating thereto that the Debtors, any advisor, or agent representing or purporting to
 represent the Debtors to whomever might have made or furnished, directly or indirectly, orally or
 in writing, unless (with respect to the Debtors only) specifically set forth in the Bankruptcy Court’s
 order approving the Sale Transaction.

         In advance of the commencement of any Auction, as is reasonably practicable, the Debtors
 shall determine, in consultation with the Consultation Parties, which Acceptable Bidders are
 Qualified Bidders and will notify the Acceptable Bidders whether Bids submitted constitute
 Qualified Bids, which will enable such Qualified Bidders to participate in the Auction. Any Bid
 that is not deemed a Qualified Bid shall not be considered by the Debtors; provided that if the
 Debtors receive a Bid prior to the applicable Bid Deadline that does not satisfy the requirements
 of a Qualified Bid, the Debtors may provide the Acceptable Bidder with the opportunity to remedy
 any deficiencies prior to the Auction.

 VI.    Right to Credit Bid.

         The DIP Agents and the Ad Hoc Secured Noteholder Group, their respective designees,
 and any Qualified Bidder who has a valid and perfected lien on any Assets of the Debtors’ estates
 (each, a “Secured Creditor”) shall have the right to submit an additional or replacement Credit Bid
 consisting of all or a portion of the value of such Secured Creditor’s claims within the meaning of
 section 363(k) of the Bankruptcy Code; provided that a Secured Creditor shall have the right to
 Credit Bid its claim only with respect to the collateral by which such Secured Creditor is secured;
 provided, further, that (i) the rights of the DIP Agents and the Ad Hoc Secured Noteholder group
 or their respective designees to Credit Bid shall be as set forth in the Financing Orders, (ii) the
 consummation of a Credit Bid in respect of any collateral is conditioned on payment in full in cash
 of any claims secured by senior liens on such collateral, unless the holders of such senior liens
 consent to a different treatment of such claims, and (iii) the rights of any party-in-interest to seek
 standing or authority to pursue a Challenge (as defined in the Financing Orders) and to object to
 any Secured Creditor’s rights to Credit Bid are hereby reserved and preserved, in each case as set
 forth in the Financing Orders.

         Any Credit Bid made by a Secured Creditor or their respective assignees, as applicable,
 will be deemed to be a cash Bid solely for purposes of evaluating Bids (including evaluating
 Qualified Bids and Subsequent Bids). Notwithstanding anything to the contrary contained herein
 or the Bidding Procedures Order, the DIP Agents or the Ad Hoc Secured Noteholder Group or
 their respective designees, as applicable, whether as a Stalking Horse Bidder or otherwise, shall
 not be subject to the Good Faith Deposit requirement (whether for a credit bid or otherwise), are
 hereby deemed Qualified Bidders, and their Bids, including any Credit Bid, are hereby deemed
 Qualified Bids.

 VII.   Obtaining Due Diligence Access.

        Only Acceptable Bidders shall be eligible to receive due diligence information, access to
 the Debtors’ electronic data room, and additional non-public information regarding the Debtors.

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 No Acceptable Bidder will be permitted to conduct any due diligence without entry into a
 Confidentiality Agreement. Beginning on the date the Debtors determine that a party is an
 Acceptable Bidder, or as soon as reasonably practicable thereafter, the Debtors will provide such
 Acceptable Bidder with access to an electronic data room and reasonable due diligence
 information, as requested by such Acceptable Bidder, as soon as reasonably practicable after such
 request. The Debtors shall post substantially all written due diligence provided to any Acceptable
 Bidder to the Debtors’ electronic dataroom for the benefit of all Applicable Bidders. To the extent
 the Debtors provide any material written information to an Acceptable Bidder that the Debtors had
 not previously provided to a Consultation Party, the Debtors shall promptly make such information
 available to such Consultation Party.

         Acceptable Bidders will not, directly or indirectly, contact or initiate or engage in
 discussions in respect of matters relating to the Debtors or a potential transaction with any
 customer, supplier, or other contractual counterparty of the Debtors without the prior written
 consent of the Debtors. The due diligence period will end on the applicable Bid Deadline and
 subsequent to the applicable Bid Deadline the Debtors shall have no obligation to furnish any due
 diligence information.

         In connection with the provision of due diligence information to Acceptable Bidders,
 the Debtors shall not furnish any confidential information relating to the Debtors or a potential
 transaction to any person except an Acceptable Bidder or such Acceptable Bidder’s duly
 authorized representatives to the extent provided in an applicable Confidentiality Agreement.

         The Debtors and their advisors shall coordinate all reasonable requests for additional
 information and due diligence access from Acceptable Bidders; provided that the Debtors may
 decline to provide such information to Acceptable Bidders who, in the Debtors’ reasonable
 business judgment have not established, or who have raised doubt, that such Acceptable Bidders
 intend in good faith to, or have the capacity to, consummate a Sale Transaction. For any bidder
 who is a competitor or customer of the Debtors or is affiliated with any competitors or customers
 of the Debtors, the Debtors reserve the right to withhold or modify any diligence materials that the
 Debtors determine are business-sensitive or otherwise inappropriate for disclosure to such bidder.

        A.      Communications with Acceptable Bidders (including Qualified Bidders).

         Notwithstanding anything to the contrary in these Bidding Procedures, all substantive
 direct communications, including any diligence requests, with Acceptable Bidders (including any
 Qualified Bidders) shall be through Guggenheim Securities.

        B.      Due Diligence from Acceptable Bidders (including Qualified Bidders).

         Each Acceptable Bidder (including any Qualified Bidder) shall comply with all reasonable
 requests for additional information and due diligence access requested by the Debtors or their
 advisors and their respective advisors, regarding the ability of such Acceptable Bidder (including
 any Qualified Bidder) to consummate its contemplated transaction. Failure by an Acceptable
 Bidder (including any Qualified Bidder, other than the Stalking Horse Bidder, if any) to comply
 with such reasonable requests for additional information and due diligence access may be a basis
 for the Debtors to determine that such bidder is no longer an Acceptable Bidder (including any

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 Qualified Bidder, other than the Stalking Horse Bidder, if any) or that a bid made by such bidder
 is not a Qualified Bid.

 The Debtors have designated Brendan Hayes, Casey Cohen, Matthew Scheidemann, and
 Jeffrey Kirshner at Guggenheim Securities to coordinate all requests for additional
 information and due diligence access on behalf of the Debtors. They can be reached at
 brendan.hayes@guggenheimpartners.com,            casey.cohen@guggenheimpartners.com,
 matthew.scheidemann@guggenheimpartners.com,                                      and
 jeffrey.kirshner@guggenheimpartners.com.

 VIII. Bid Deadlines.

        A.      Elixir Bid Deadline.

         Binding Bids for the Elixir Assets must be submitted in writing to the following parties
 (the “Elixir Bid Notice Parties”) so as to be actually received no later than 5:00 p.m. (prevailing
 Eastern Time) on November 16, 2023 (the “Elixir Bid Deadline”).

        (vi)    proposed counsel to the Debtors, Kirkland & Ellis LLP, 601 Lexington Avenue,
                New York, New York 10022, Attn:                    Joshua A. Sussberg, P.C.
                (joshua.sussberg@kirkland.com),          Aparna         Yenamandra,       P.C.
                (aparna.yenamandra@kirkland.com), Ross J. Fiedler (ross.fiedler@kirkland.com),
                and Zachary R. Manning (zach.manning@kirkland.com), 300 North LaSalle,
                Chicago, Illinois 60654, Attn: Steve Toth (steve.toth@kirkland.com);

        (vii)   proposed co-counsel to the Debtors, Cole Schotz P.C., Court Plaza North, 25 Main
                Street, Hackensack, New Jersey 07601 Attn:                 Michael D. Sirota
                (msirota@coleschotz.com), Warren A. Usatine (wusatine@coleschotz.com),
                Felice R. Yudkin (fyudkin@coleschotz.com); and Seth Van Aalten
                (svanaalten@coleschotz.com); and

        (viii) the Debtors’ proposed investment banker, Guggenheim Securities, LLC, 330
               Madison Avenue, New York, New York 10017, Attn: Brendan Hayes
               (brendan.hayes@guggenheimpartners.com),           Casey            Cohen
               (casey.cohen@guggenheimpartners.com),        Matthew         Scheidemann
               (matthew.scheidemann@guggenheimpartners.com), and Jeffrey Kirshner
               (jeffrey.kirshner@guggenheimpartners.com).

        In consultation with the Consultation Parties, the Debtors may extend the Elixir Bid
 Deadline in their reasonable business judgment for all or certain Acceptable Bidders.

        B.      Rite Aid Retail Bid Deadline.

         Binding Bids for any or all of the Rite Aid Retail Assets must be submitted in writing to
 the following parties (the “Rite Aid Retail Bid Notice Parties”) so as to be actually received no
 later than 5:00 p.m. (prevailing Eastern Time) on November 30, 2023 (the “Rite Aid Retail Bid
 Deadline,” and together with the Elixir Bid Deadline, the “Bid Deadlines”).

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        (i)     proposed counsel to the Debtors, Kirkland & Ellis LLP, 601 Lexington Avenue,
                New York, New York 10022, Attn:                     Joshua A. Sussberg, P.C.
                (joshua.sussberg@kirkland.com),           Aparna         Yenamandra,      P.C.
                (aparna.yenamandra@kirkland.com), Ross J. Fiedler (ross.fiedler@kirkland.com),
                and Zachary R. Manning (zach.manning@kirkland.com), 300 North LaSalle,
                Chicago, Illinois, 60654, Attn: Steve Toth (steve.toth@kirkland.com);

        (ii)    proposed co-counsel to the Debtors, Cole Schotz P.C., Court Plaza North, 25 Main
                Street, Hackensack, New Jersey 07601 Attn:                 Michael D. Sirota
                (msirota@coleschotz.com), Warren A. Usatine (wusatine@coleschotz.com),
                Felice R. Yudkin (fyudkin@coleschotz.com), and Seth Van Aalten
                (svanaalten@coleschotz.com); and

        (iii)   the Debtors’ proposed investment banker, Guggenheim Securities, LLC, 330
                Madison Avenue, New York, New York 10017, Attn: Brendan Hayes
                (brendan.hayes@guggenheimpartners.com),           Casey            Cohen
                (casey.cohen@guggenheimpartners.com),        Matthew         Scheidemann
                (matthew.scheidemann@guggenheimpartners.com), and Jeffrey Kirshner
                (jeffrey.kirshner@guggenheimpartners.com).

       In consultation with the Consultation Parties, the Debtors may extend the Rite Aid Retail
 Bid Deadline for any reason whatsoever, in their reasonable business judgment for all or certain
 Acceptable Bidders.

 IX.    Evaluation of Qualified Bids.

         The Debtors shall evaluate Qualified Bids and identify the Qualified Bid that is, in
 the Debtors’ business judgment, and, in consultation with the Consultation Parties, the highest or
 otherwise best Qualified Bid or combination of Qualified Bids for any Assets (the “Starting Bids”).
 The Debtors shall promptly provide to the Consultation Parties and the U.S. Trustee copies of all
 Bids received by the Debtors, including the Starting Bid; provided that the Consultation Parties
 and the U.S. Trustee must treat such Bids and any related information as confidential and shall not
 publicly disclose such information without the written consent of the Debtors and the applicable
 bidder.

         When determining the highest or otherwise best Qualified Bid, as compared to other
 Qualified Bids, the Debtors may consider the following factors, in addition to any other factors
 that the Debtors deem appropriate: (a) the amount and nature of the total consideration;
 (b) the likelihood of the Qualified Bidder’s ability to close a transaction and the timing thereof;
 (c) the net economic effect of any changes to the value to be received by each of the Debtors’
 estates from the transaction contemplated by the Bid Documents, including the effect of the sale
 of Elixir Assets on Rite Aid Retail Assets, and vice versa; (d) whether the Qualified Bid
 contemplates a Sale Transaction that would be consummated through a Plan or a sale pursuant to
 section 363 of the Bankruptcy Code; (e) the certainty of a Qualified Bid leading to a confirmed
 Plan; (f) whether the Qualified Bid contemplates a Sale Transaction for the Debtors’ new equity
 interest or a Sale Transaction for the Assets; and (g) the tax consequences of such Qualified Bid.
 Prior to commencing the Auction, the Debtors shall notify the Stalking Horse Bidder, if any, and

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 all Qualified Bidders as to which Qualified Bid is the Starting Bid for the Auction with respect to
 the applicable assets. At such time, the Debtors shall also distribute copies of the Starting Bid to
 the Stalking Horse Bidder, if any, and each Qualified Bidder.

 X.     Stalking Horse Bid Protections.

        Pursuant to the Bidding Procedures Order, a Stalking Horse Bidder, if any, that has not
 submitted a Credit Bid, is entitled to the Stalking Horse Bid Protections (as defined below) in the
 amounts set forth herein, and in accordance with the terms of the Bidding Procedures Order.

         In the event that the Debtors receive multiple Qualified Bids, with respect to any Elixir
 Assets (and solely in the event of the termination of the Elixir Stalking Horse APA, attached hereto
 as Schedule 2, with MedImpact), at any time until November 8, 2023, at 5:00 p.m. (prevailing
 Eastern Time), and with respect to any Rite Aid Retail Assets, at any time until November 20,
 2023, at 5:00 p.m. (prevailing Eastern Time), the Debtors shall be authorized, but not obligated, in
 an exercise of their reasonable business judgment, in consultation with the Consultation Parties, to
 (a) select one or more Acceptable Bidders to act as the Stalking Horse Bidder in connection with
 the Auction for such assets, and (b) in connection with any stalking horse agreement (with respect
 to any Elixir Assets, an “Elixir Stalking Horse Agreement,” and with respect to any Rite Aid Retail
 Assets, a “Rite Aid Stalking Horse Agreement”) with a Stalking Horse Bidder, (x) provide a break-
 up fee and (y) agree to reimburse the reasonable and documented out of pocket fees and expenses
 (the “Stalking Horse Bid Protections”) not to exceed (i) three and a half percent of the Purchase
 Price with respect to the foregoing clauses (x) and (y) in the aggregate, with respect to the Elixir
 Sale Transaction, and (ii) three percent of the applicable Purchase Price with respect to the
 foregoing clauses (x) and (y) in the aggregate, with respect to a Rite Aid Retail Sale Transaction.
 Any such Stalking Horse Bid Protections are authorized pursuant to these Bidding Procedures and
 the Bidding Procedures Order.

         Except with respect to entry into the Elixir Stalking Horse APA with MedImpact, in the
 event that the Debtors enter into a Stalking Horse Agreement with one or more Elixir Stalking
 Horse Bidders, within two business days of entry, the Debtors shall file a notice and proposed form
 of order with the Court (the “Elixir Stalking Horse Notice”) and serve the Elixir Stalking Horse
 Notice on the Elixir Stalking Horse Bidder, the U.S. Trustee, and the Consultation Parties. The
 Elixir Stalking Horse Notice shall: (i) set forth the identity of the applicable Elixir Stalking Horse
 Bidder (and if the Elixir Stalking Horse Bidder is a newly formed entity, then the Elixir Stalking
 Horse Bidder’s parent company or sponsor); (ii) set forth the amount of the Elixir Stalking Horse
 Bid and what portion (if any) is cash; (iii) state whether the Elixir Stalking Horse Bidder has any
 connection to the Debtors other than those that arise from the Elixir Stalking Horse Bid; (iv) specify
 any proposed Elixir Stalking Horse Bid Protections (including the amount and calculation thereof);
 (v) specify the Assets included in the Elixir Stalking Horse Bid; (vi) attach the applicable Stalking
 Horse Agreement, including all exhibits, schedules and attachments thereto; and (vii) set forth the
 deadline to object to the Elixir Stalking Horse Bidder designation and any Elixir Stalking Horse
 Bid Protections. If there are no objections to the Elixir Stalking Horse Notice within five days of
 filing with the Court, (the “Elixir Stalking Horse Notice Period”), the Debtors may submit an order
 to the Court that incorporates any comments received during the Elixir Stalking Horse Notice
 Period that authorizes the Debtors to designate an Elixir Stalking Horse Bidder and to enter into a
 Stalking Horse Agreement, without the need for further hearing. If a party timely files an objection

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 to the Elixir Stalking Horse Notice, the Court shall hold a hearing after the expiration of the Elixir
 Stalking Horse Notice Period and as soon thereafter as the Court is available.

         In the event that the Debtors enter into a Stalking Horse Agreement with one or more Rite
 Aid Retail Stalking Horse Bidders, within two business days of entry, the Debtors shall file a notice
 and proposed form of order with the Court (the “Rite Aid Retail Stalking Horse Notice”) and serve
 the Rite Aid Retail Stalking Horse Notice on the Rite Aid Retail Stalking Horse Bidder, the
 U.S. Trustee, and Consultation Parties. The Rite Aid Retail Stalking Horse Notice shall: (a) set
 forth the identity of the Rite Aid Retail Stalking Horse Bidder (and if the Rite Aid Retail Stalking
 Horse Bidder is a newly formed entity, then the Rite Aid Retail Stalking Horse Bidder’s parent
 company or sponsor); (b) set forth the amount of the Rite Aid Retail Stalking Horse Bid and what
 portion (if any) is cash; (c) state whether the Rite Aid Retail Stalking Horse Bidder has any
 connection to the Debtors other than those that arise from the Rite Aid Retail Stalking Horse Bid;
 (d) specify any proposed Rite Aid Retail Stalking Horse Bid Protections (including the amount
 and calculation thereof); (e) specify the Assets included in the Rite Aid Retail Stalking Horse Bid;
 (f) attach the applicable Rite Aid Retail Stalking Horse Agreement, including all exhibits,
 schedules and attachments thereto; and (g) set forth the deadline to object to the Rite Aid Retail
 Stalking Horse Bidder designation and any Rite Aid Retail Stalking Horse Bid Protections. If there
 are no objections to the Rite Aid Retail Stalking Horse Notice within five days of filing with the
 Court, (the “Rite Aid Retail Stalking Horse Notice Period”), the Debtors may submit an order to
 the Court that incorporates any comments received during the Rite Aid Retail Stalking Horse
 Notice Period that authorizes the Debtors to designate an Rite Aid Retail Stalking Horse Bidder
 and to enter into an Rite Aid Retail Stalking Horse Agreement, without the need for further hearing.
 If a party timely files an objection to the Rite Aid Retail Stalking Horse Notice, the Court shall
 hold a hearing after the expiration of the Rite Aid Retail Stalking Horse Notice Period and as soon
 thereafter as the Court is available.

         Upon entry of the Bidding Procedures Order, the Debtors are authorized, but are not
 obligated or directed, to incur and pay the Stalking Horse Bid Protections to any Stalking Horse
 Bidder that has not submitted a Credit Bid in an aggregate amount not to exceed three and a half
 percent of the proposed Purchase Price, with respect to the Elixir Sale Transaction, and three
 percent of the applicable proposed Purchase Price, with respect to the Rite Aid Retail Sale
 Transaction.

         Except as otherwise set forth herein, no person or entity, other than a Stalking Horse Bidder
 that has not submitted a Credit Bid, shall be entitled to any expense reimbursement, breakup fees,
 “topping,” termination, or other similar fee or payment, and by submitting a bid, such person or
 entity is deemed to have waived their right to request or to file with this Court any request for
 expense reimbursement or any fee of any nature, whether by virtue of Bankruptcy Code section
 503(b) or otherwise.

 XI.    No Qualified Bids.

        If no Qualified Bids other than a Bid submitted by a Stalking Horse Bidder, if any, are
 received for the Assets included in such Stalking Horse Bid by the applicable Bid Deadline, then
 the Debtors may cancel the Auction with respect to such Assets. If any Stalking Horse Bid is the
 only Qualified Bid received by the applicable Bid Deadline, the Debtors may decide, in their

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 reasonable business judgment, in consultation with the Consultation Parties, to designate such
 Stalking Horse Bid as the Successful Bid (as defined below) as to the applicable Assets and pursue
 entry of an order approving a Sale Transaction with respect to such Assets to the Stalking Horse
 Bidder pursuant to the Stalking Horse Agreement. The Debtors shall promptly file notice of any
 cancellation of the Auction and/or designation of the Stalking Horse Bid, where applicable, as the
 Successful Bid with the Court.

 XII.   Auction.

        The Auctions will be conducted in accordance with the following procedures
 (the “Auction Procedures”):

        a.      the Auctions will be conducted openly;

        b.      except as otherwise provided herein, only Qualified Bidders shall be entitled to bid
                at any Auction;

        c.      the Qualified Bidders, including any Stalking Horse Bidders, if any, must appear in
                person or through duly-authorized representatives at the Auctions;

        d.      bidding shall begin with the Starting Bid;

        e.      subsequent bids (each, an “Overbid”) may only be made at the Auctions and shall
                be at least (i) a 2% increase in cash, cash equivalents, or other such consideration
                that the Debtors, in their reasonable business judgment, in consultation with the
                Consultation Parties, deem equivalent (including the right of a Secured Creditor to
                Credit Bid any remaining amount of its secured claims) over the previous bid, plus
                (ii) solely with respect to the first Overbid made by a party in the event that the
                Debtors have entered into a Stalking Horse Agreement with respect to the Assets
                to which the Overbid relates, the aggregate amount of Bid Protections under such
                Stalking Horse Agreement (a “Minimum Overbid”), and each successive Overbid
                shall exceed the then-existing Overbid by an incremental amount that is not less
                than the Minimum Overbid. The Debtors may, in their reasonable business
                judgment, in consultation with the Consultation Parties, announce increases or
                reductions to the Minimum Overbid at any time during any Auction. For the
                avoidance of doubt, each successive Bid that a Qualified Bidder may submit at any
                Auction must contain a Purchase Price in cash, cash equivalents, or such other
                consideration that the Debtors, in their reasonable business judgment deem
                equivalent (including the right of a Secured Creditor to Credit Bid any remaining
                amount of its secured claims) that exceeds the then-existing highest Bid by at least
                the amount of the Minimum Overbid;

        f.      at the commencement of any Auction, in consultation with the Consultation Parties,
                the Debtors may announce procedural and related rules governing such Auction,
                including time periods available to all Qualified Bidders to submit successive
                bid(s);



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      g.    each Qualified Bidder will be permitted a reasonable time to respond to previous
            bids at any Auction, as determined by the Debtors;

      h.    during the course of any Auction, the Debtors shall, after submission of each
            Overbid, promptly inform each Qualified Bidder of the terms of the previous bids
            and inform each Qualified Bidder which Overbid(s) reflect, in the Debtors’ view,
            the highest or otherwise best bid(s) for the applicable Assets;

      i.    the Auctions will be transcribed to ensure an accurate recording of the bidding at
            such Auction;

      j.    each Qualified Bidder will be required to confirm on the record that it has not
            engaged, and will not engage, in any collusion with respect to the bidding or any
            Sale Transaction. For the avoidance of doubt, this requirements does not restrict
            Qualified Bidder(s) from working with other Qualified Bidder(s) with the Debtors’
            prior written consent;

      k.    each Qualified Bidder will be required to confirm that its bid is a good faith, bona
            fide offer and it intends to consummate the Sale Transaction if selected as
            the Successful Bid in accordance with these Bidding Procedures (as may be
            modified in accordance herewith at the Auction);

      l.    subject to each of the Debtors’ fiduciary obligations, including those explicitly set
            forth herein, the Court and the Debtors will not consider bids made after the
            applicable Auction has been closed;

      m.    the Debtors, in their reasonable business judgment and in consultation with the
            Consultation Parties, may reject, at any time before entry of an order of the Court
            approving a Successful Bid, any Bid that the Debtors determine is (i) inadequate or
            insufficient, (ii) not in conformity with the requirements of the Bankruptcy Code,
            the Bidding Procedures, or the terms and conditions of the Sale Transaction,
            (iii) contrary to the best interests of the Debtors, their estates, their creditors, and
            other stakeholders, or (iv) otherwise violative of any of the Debtors’ fiduciary
            obligations;

      n.    the Debtors have the right to request any additional information that will allow the
            Debtors to make a reasonable determination as to a Qualified Bidder’s financial
            and other capabilities to consummate the transactions contemplated by their
            proposal and any further information that the Debtors believe is reasonably
            necessary to clarify and evaluate any Bid made by a Qualified Bidder during the
            Auction;

      o.    the Debtors reserve the right, in their reasonable business judgment, in consultation
            with the Consultation Parties, to adjourn any Auction one or more times to, among
            other things, (a) facilitate discussions between the Debtors and Qualified Bidders,
            (b) allow Qualified Bidders to consider how they wish to proceed, and (c) provide
            Qualified Bidders the opportunity to provide the Debtors with such additional
            evidence as the Debtors, in their reasonable business judgment, may require that
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                the Qualified Bidder has sufficient internal resources or has received sufficient non-
                contingent debt and/or equity funding commitments to consummate the proposed
                transaction at the prevailing amount; and

        p.      notwithstanding anything herein to the contrary, the Debtors may, in consultation
                with the Consultation Parties, at any time choose to adjourn any Auction by
                announcement at such Auction. The Debtors shall promptly file notice of such
                adjournment with the Court.

        For the avoidance of doubt, nothing in the Auction Procedures will prevent the Debtors
 from exercising their respective fiduciary duties under applicable law.

        Any Auction rules adopted by the Debtors will not modify any of the terms of the Stalking
 Horse Bid purchase agreement or the rights of the Stalking Horse Bidder, if any, without the
 consent of the Stalking Horse Bidder, if any.

          Except as otherwise determined by the Debtors, in consultation with the Consultation
 Parties, only (i) the Debtors, (ii) the Consultation Parties, (iii) the Office of the United States
 Trustee, (iv) any Qualified Bidders, (v) any party in interest (including any affected landlord), and
 (vi) in each case, the respective representatives and professionals of the foregoing parties shall be
 entitled to attend any Auction. Only Qualified Bidders shall be entitled to make Overbids at the
 Auction.

        A.      Elixir Auction.

         Other than as expressly set forth herein, if the Debtors receive more than one Qualified Bid
 for any particular Elixir Asset or portion of Elixir Assets by the applicable Bid Deadline, the
 Debtors shall conduct an Elixir Auction to determine the Successful Bidder in their reasonable
 business judgment with respect to such Elixir Assets or portion of Elixir Assets in accordance with
 the Auction Procedures (as defined below). If the Debtors do not receive a Qualified Bid for any
 particular Elixir Asset by the applicable Bid Deadline, the Debtors will not conduct an Elixir
 Auction with respect to such Elixir Asset.

         The Auction for Elixir Assets shall commence on November 20, 2023 at 10:00 a.m.
 (prevailing Eastern Time), or such other time or other place as the Debtors determine.

        B.      Rite Aid Retail Auction.

          Other than as expressly set forth herein, if the Debtors receive more than one Qualified Bid
 for any particular Rite Aid Retail Asset or portion of Rite Aid Retail Assets by the applicable Bid
 Deadline, the Debtors shall conduct a Rite Aid Retail Auction to determine the Successful Bidder
 in their reasonable business judgment with respect to such Rite Aid Retail Assets or portion of Rite
 Aid Retail Assets. If the Debtors do not receive a Qualified Bid for any particular Rite Aid Retail
 Asset by the applicable Bid Deadline, the Debtors will not conduct a Rite Aid Retail Auction with
 respect to such Rite Aid Retail Asset. If one or more Qualified Bids (other than the Rite Aid Retail
 Stalking Horse Bid, if any) are received by the applicable Bid Deadline with respect to the
 applicable Assets, then the Debtors shall conduct the Rite Aid Retail Auction with respect to such
 Rite Aid Retail Assets in accordance with the Auction Procedures (as defined below).

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         The Auction for Rite Aid Retail Assets shall commence on December 4, 2023 at 10:00 a.m.
 (prevailing Eastern Time), or such other time or other place as the Debtors determine.

 XIII. Acceptance of the Successful Bid.

         Each Auction shall continue until (i) there is only one Qualified Bid or a combination of
 Qualified Bids that the Debtors determine, in their reasonable business judgment and in a manner
 consistent with the exercise of their fiduciary duties and outlined below in further detail, and in
 consultation with the Consultation Parties, is the highest or otherwise best bid to purchase the
 applicable Assets (each, a “Successful Bid”), and (ii) the Debtors determine, in their reasonable
 business judgment, in consultation with the Consultation Parties, that further bidding is unlikely
 to result in a different Successful Bid or Successful Bids that would be reasonably acceptable to
 the Debtors, at which point, such Auction will be closed.

         When determining the highest or otherwise best Qualified Bid, as compared to other
 Qualified Bids, the Debtors, in consultation with the Consultation Parties, may consider the
 following factors in addition to any other factors that the Debtors deem appropriate: (a) the amount
 and nature of the total consideration, which includes but is not limited to, assumed liabilities
 (administrative liabilities, cure payments), and the amount of executory contracts and leased
 locations being assumed; (b) the likelihood of the Qualified Bidder’s ability to close a transaction
 and the timing thereof; (c) the net economic effect of any changes to the value to be received by
 each of the Debtors’ estates from the transaction contemplated by the Bid Documents, including
 the effect of the sale of Elixir Assets on Rite Aid Retail Assets, and vice versa; (d) the tax
 consequences of such Qualified Bid; (e) whether the Qualified Bid contemplates a Sale
 Transaction that would be consummated through a Plan or a sale pursuant to section 363 of the
 Bankruptcy Code; (f) the certainty of a Qualified Bid leading to a confirmed Plan; and (g) any
 other consideration that may impact the Debtors’ stakeholders.

          Any Qualified Bidder that submits a Successful Bid will be deemed a “Successful Bidder”
 with respect to the Assets contemplated for the purchase pursuant to such Successful Bid. The
 Debtors shall file notice of the Successful Bid and the Successful Bidder with the Court as soon as
 reasonably practicable after conclusion of the applicable Auction. Following conclusion of the
 Auction and selection of a Successful Bidder, the Debtors shall present the results of the Auction
 at a hearing (each, a “Sale Hearing”) and shall seek Court approval to enter into a binding purchase
 agreement with the Successful Bidder on the terms of the Successful Bid (the order approving such
 entry, the “Definitive Purchase Agreement Order”). For the avoidance of doubt, the Definitive
 Purchase Agreement Order shall deem the Debtors’ selection of the Successful Bid final and,
 subject to the designation of the Back-Up Bid, the Debtors shall not solicit and /or accept any
 further bids or offers to submit a bid after such selection; provided that, notwithstanding anything
 to the contrary in these Bidding Procedures, nothing in these Bidding Procedures shall require the
 board of directors, board of managers, or such similar governing body of any Debtor, or any special
 committee of any board of any Debtor, to take or refrain from taking any action that the Debtors
 determined in good faith, in consultation with counsel, would be inconsistent with applicable law
 or its fiduciary obligations under applicable law.

        Within one (1) business day of the selection of the Successful Bidder, such Successful
 Bidder (including both the Stalking Horse Bidder, if any, and Back-Up Bidder, if applicable) shall

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 make a cash deposit, in addition to its Good Faith Deposit, in an amount calculated on the basis of
 the increased aggregate purchase price, submitted by wire transfer of immediately available funds
 to an escrow account to be identified and established by the Debtors pursuant to a customary and
 reasonable escrow agreement; provided that the DIP Agents and the Ad Hoc Secured Noteholder
 Group (or their designees) shall not be required to make any deposit. Each Successful Bidder and
 the Debtors shall, as soon as commercially reasonable and practicable, complete and sign all
 agreements, contracts, instruments, or other documents evidencing and containing the terms upon
 which each such Successful Bid was made.

 XIV. Designation of Back-Up Bidder.

         The Back-Up Bid to purchase any applicable Assets (the “Back-Up Bidder”) will be
 determined by the Debtors at the conclusion of the Auction, in consultation with the Consultation
 Parties, and will be announced at that time to all the Qualified Bidders participating in the Auction.
 The Debtors will also announce information related to such Back-Up Bid, including any agreement
 with the Back-Up Bidder; provided that the Debtors shall not provide any confidential information
 in connection with such announcement. The Debtors’ selection of a Back-Up Bid shall be deemed
 final and the Debtors shall not accept any further bids or offers to submit a bid after such selection.
 The Debtors will be authorized, but not required, to consummate the Transaction with the Back-Up
 Bidder without further order of the Court, so long as such Back-Up Bid shall have been approved
 in connection with the Court’s approval of the Successful Bid, or subject to Court approval if not.

        If for any reason a Successful Bidder fails to consummate the purchase of such assets
 within the time permitted, then the Back-Up Bidder will automatically be deemed to have
 submitted the Successful Bid for such assets, and the Back-Up Bidder shall be deemed a Successful
 Bidder for such assets and shall be required to consummate any Sale Transaction with the Debtors
 as soon as is reasonably practicable without further order of the Court, upon 2 Business Days’
 advance notice filed with the Court. To the extent any objections are raised and remain unresolved,
 the Court may schedule a hearing on an expedited basis to adjudicate such objection.

         The Back-Up Bid shall remain open and irrevocable until the earliest to occur of
 (a) 90 days following the hearing to consider the applicable Sale Order, (b) consummation of a
 Sale Transaction with one or more Successful Bidders at an Auction, and (c) the release of such
 Back-Up Bid by the Debtors in writing (the “Back-Up Termination Date”); provided the Back-Up
 Termination Date with respect to the Elixir Sale Transaction shall be subject to the Elixir Stalking
 Horse APA. The Debtors shall return the Back-Up Bidder’s deposit owed within five (5) business
 days of the Back-Up Termination Date.

 XV.    Approval of the Sale Transaction.

        At the applicable Sale Hearing certain findings will be sought from the Court regarding
 the Auction, including, among other things, that: (1) the applicable Auction was conducted, and
 the Successful Bidder was selected, in accordance with the Bidding Procedures; (2) the Auction
 was fair in substance and procedure; (3) the Successful Bid was a Qualified Bid as defined in
 the Bidding Procedures; and (4) consummation of any Sale Transaction as contemplated by the
 Successful Bid in the Auction will provide the highest or otherwise best offer for the applicable
 Assets and is in the best interests of the Debtors and their estates. The applicable Sale Hearing

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 may be continued to a later date by the Debtors, in consultation with the Consultation
 Parties, by sending notice to creditors or other parties in interest prior to, or making an
 announcement at, such Sale Hearing. No further notice of any such continuance will be
 required to be provided to any party (including the Stalking Horse Bidder, if any).

         In the event a transaction is consummated through a Plan, a hearing before the Court to
 consider confirmation of the Plan (the “Confirmation Hearing”) will be held at a date and time
 consistent with the any order approving the Debtors’ disclosure statement and scheduling
 applicable dates and deadlines related thereto, including confirmation of the Plan.

        A.      Elixir Sale Transaction

         With respect to the Elixir Assets, a hearing to consider approval of any Elixir Sale
 Transaction, is currently scheduled to take place on December 7, 2023, at 11:00 a.m., prevailing
 Eastern Time, before the Honorable Chief Judge Kaplan, at the United States Bankruptcy Court
 for the District of New Jersey, 402 East State Street, Courtroom 8, Trenton, New Jersey 08608.
 The proposed order approving the sale of Elixir Assets shall be filed no later than five days before
 the Sale Hearing.

         Objections to the Sale Transaction(s), and entry of any order approving the applicable sale
 (the “Elixir Sale Order”) must (i) be in writing and specify the nature of such objection; (ii) comply
 with the Bankruptcy Code, Bankruptcy Rules, Local Rules, and all orders of the Court; and (iii) be
 filed with the Court and served so as to by actually received by the Debtors, the Elixir Bid Notice
 Parties, and the foregoing parties’ respective counsel by December 1, 2023, at 4:00 p.m.
 (prevailing Eastern Time) (the “Elixir Sale Objection Deadline”).

        B.      Rite Aid Retail Sale Transaction

         With respect to the Rite Aid Retail Assets, a hearing to consider approval of any Rite Aid
 Retail Sale Transaction, is currently scheduled to take place on December 19, 2023, at 11:00 a.m.,
 prevailing Eastern Time, before the Honorable Chief Judge Kaplan, at the United States
 Bankruptcy Court for the District of New Jersey, 402 East State Street, Courtroom 8, Trenton,
 New Jersey 08608.

         Objections to the Sale Transaction(s), and entry of any order approving the applicable sale
 order (the “Rite Aid Retail Sale Order,” and collectively with any Elixir Sale Order, the “Sale
 Orders”) must (i) be in writing and specify the nature of such objection; (ii) comply with the
 Bankruptcy Code, Bankruptcy Rules, Local Rules, and all orders of the Court; and (iii) be filed
 with the Court and served so as to by actually received by the Debtors, the Rite Aid Retail Bid
 Notice Parties, and the foregoing parties’ respective counsel by December 15, 2023, at 4:00 p.m.
 (prevailing Eastern Time) with respect to Sales of Rite Aid Retail Assets (the “Rite Aid Retail Sale
 Objection Deadline,” and together with the Elixir Sale Objection Deadline, the “Sale Objection
 Deadlines”).

 XVI. Return of Good Faith Deposit.

       The Good Faith Deposit(s) of the Successful Bidder or Successful Bidders, if any, will,
 upon consummation of the Successful Bid or Successful Bids, become property of the Debtors’

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 estates and be credited to the portion of such Successful Bidder’s or Successful Bidders’ applicable
 Purchase Price.

         If the Successful Bidder or Successful Bidders (or Back-Up Bidder or Back-Up Bidders, if
 applicable), if any, fails to consummate the Successful Bid or Successful Bids (or Back-Up Bid or
 Back-Up Bids, if applicable), then the Good Faith Deposit(s) of such Successful Bidder or
 Successful Bidders (or Back-Up Bidder or Back-Up Bidders, if applicable) will be irrevocably
 forfeited to the Debtors and may be retained by the Debtors as liquidated damages, in addition to
 any and all rights, remedies, or causes of action that may be available to the Debtors, pursuant to
 the applicable asset purchase agreement.

        The Good Faith Deposits of any unsuccessful Qualified Bidders (except for any
 Back-Up Bidder or Back-Up Bidders and any Stalking Horse Bidders) will be returned within five
 business days after consummation of the applicable Sale Transaction or upon the permanent
 withdrawal of the applicable proposed Sale Transaction.

        The Good Faith Deposit(s) of any Back-Up Bidder or Back-Up Bidders, if any, will be
 returned to such Back-Up Bidder or Back-Up Bidders no later than five (5) business days of the
 Back-Up Termination Date.

         The return of any Good Faith Deposits of any Stalking Horse Bidders will be subject to the
 terms of such Stalking Horse Bidders’ Plan or purchase agreement, as applicable. All such
 deposits shall be held in escrow and at no time shall be deemed property of the Debtors’ estates
 absent further order of the Court.

 XVII. Reservation of Rights.

         The Debtors, in consultation with the Consultation Parties, reserve their rights to modify
 these Bidding Procedures in their reasonable business judgment and in a manner consistent with
 the exercise of their fiduciary duties in any manner that will best promote the goals of the bidding
 process, or impose, at or before any Auction, additional customary terms and conditions on the
 sale of the applicable Assets, including, without limitation: (1) extending the deadlines set forth
 in the Bidding Procedures; (2) adjourning any Auction without further notice; (3) adding
 procedural rules that are reasonably necessary or advisable under the circumstances for conducting
 any Auction; (4) canceling any Auction; (5) rejecting any or all Bids or Qualified Bids; and
 (6) adjusting the applicable Minimum Overbid increment.

         All parties expressly reserve all of their rights (and do not waive any such rights) to seek
 Court relief with regard to the Auction, the Bidding Procedures, the Sale Transaction, and any
 related items (including, if necessary, to seek an extension of the applicable Bid Deadline).

         Each reference in these Bidding Procedures and the Bidding Procedures Order to
 “consultation” (or similar phrase) with the Consultation Parties shall mean consultation in good
 faith. All Consultation Parties will be permitted to seek relief from the Bankruptcy Court, on an
 expedited basis, if they disagree with any actions or decisions made by the Debtors as part of these
 Bidding Procedures. The rights of all Consultation Parties with respect to the outcome of any
 Auction are reserved, subject to the terms of the Financing Orders and RSA (as defined in the
 Plan), as applicable.
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 XVIII. Consent to Jurisdiction.

           All Qualified Bidders at any Auction will be deemed to have consented to the core
 jurisdiction of the Court and waived any right to a jury trial in connection with any disputes relating
 to any Auction, Sale, Sale Transaction and the construction and enforcement of these Bidding
 Procedures, any written indications of interest, Preliminary Bid Documents, the Bids, the Bid
 Documents, and any and all other agreements entered into in connection with any proposed Sale
 Transaction, as applicable, and consented to the entry of a final order or judgment in any way
 related to these Bidding Procedures, the bid process, any Auction, Sale Hearing, or the construction
 and enforcement of any agreement or any other document relating to any Sale or Sale Transaction
 if it is determined that the Court would lack Article III jurisdiction to enter such a final order or
 judgment absent the consent of the parties.

        Any parties raising a dispute relating to these Bidding Procedures must request that such
 dispute be heard by the Court on an expedited basis.

 XIX. Fiduciary Out.

         Notwithstanding anything to the contrary in these Bidding Procedures, nothing in these
 Bidding Procedures or the Bidding Procedures Order shall require a Debtor or the board of
 directors, board of managers, or similar governing body of a Debtor, or any special committee of
 any board of any Debtor, to take any action or to refrain from taking any action related to any sale
 transaction or with respect to these Bidding Procedures, to the extent such Debtor, board of
 director, board of managers, or such similar governing body reasonably determines in good faith,
 in consultation with counsel, that taking or failing to take such action, as applicable, would be
 inconsistent with applicable law or its fiduciary obligations under applicable law.

         Further, notwithstanding anything to the contrary in these Bidding Procedures or the
 Bidding Procedures Order, through the date of the Auction (if held), nothing in these Bidding
 Procedures or the Bidding Procedures Order shall diminish the right of the Debtors and their
 respective directors, officers, employees, investment bankers, attorneys, accountants, consultants,
 and other advisors or representatives to: (a) consider, respond to, and facilitate alternate proposals
 for sales or other restructuring transactions involving the Assets (each an “Alternate Proposal”);
 (b) provide access to non-public information concerning the Debtors to any entity or enter into
 confidentiality agreements or nondisclosure agreements with any entity with respect to Alternative
 Proposals; (c) maintain or continue discussions or negotiations with respect to Alternate Proposals;
 (d) otherwise cooperate with, assist, participate in, or facilitate any inquiries, proposals,
 discussions, or negotiations of Alternate Proposals; and (e) enter into or continue discussions or
 negotiations with any person or entity regarding any Alternate Proposal.




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                                 Schedule 1(a)

                              Elixir Auction Notice
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                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEW JERSEY


 In re:                                                       Chapter 11

 RITE AID CORPORATION, et al.,                                Case No. 23-18993 (MBK)

                                     Debtors. 1               (Jointly Administered)



                     NOTICE OF SALE BY AUCTION AND SALE HEARING

         PLEASE TAKE NOTICE that on [__], 2023, the United States Bankruptcy Court for the
 District of New Jersey (the “Court”) entered the Order (I) Approving Bidding Procedures and Bid
 Protections, (II) Scheduling Certain Dates and Deadlines with Respect Thereto, (III) Approving
 the Form and Manner of Notice Thereof, (IV) Approving the Elixir Stalking Horse APA,
 (V) Establishing Notice and Procedures for the Assumption and Assignment of Contracts and
 Leases, (VI) Authorizing the Assumption and Assignment of Assumed Contracts, (VII) Authorizing
 the Sale of Assets, and (VIII) Granting Related Relief [Docket No. [__]] (the “Bidding Procedures
 Order”) 2 in the chapter 11 cases of the above-captioned debtors and debtors in possession
 (collectively, the “Debtors”).

        PLEASE TAKE FURTHER NOTICE that the Debtors are soliciting offers for the
 purchase of substantially all or a portion of the Elixir Assets consistent with the bidding procedures
 (the “Bidding Procedures”) approved by the Court pursuant to the Bidding Procedures Order. All
 interested bidders should carefully read the Bidding Procedures and Bidding Procedures
 Order. To the extent that there are any inconsistencies between this notice and the Bidding
 Procedures or Bidding Procedures Order, the Bidding Procedures or Bidding Procedures Order, as
 applicable, shall govern in all respects.

        PLEASE TAKE FURTHER NOTICE that, if the Debtors receive qualified competing
 bids within the requirements and time frame specified by the Bidding Procedures, the Debtors will
 conduct an auction (the “Auction”) of the Elixir Assets on November 20, 2023, at 10:00 a.m.
 (prevailing Eastern Time) at the offices of Kirkland & Ellis, 601 Lexington Avenue, New York,
 New York 10022, as arranged by counsel to the Debtors.

        PLEASE TAKE FURTHER NOTICE that, except as otherwise determined by the
 Debtors, in consultation with the Consultation Parties, only the Debtors, the Consultation Parties,

 1
      The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
      Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
      website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid.
      The location of Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in
      these chapter 11 cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
 2
      Capitalized terms used but not defined in this notice have the meanings given to them in the Bidding Procedures
      Order.
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 the U.S. Trustee, any Qualified Bidders, any party in interest (including any affected landlord),
 and, in each case, the respective representatives and professionals of the foregoing parties, shall
 be entitled to attend the Auction, and only Qualified Bidders will be entitled to make Overbids at
 the Auction. All interested or potentially affected parties should carefully read the Bidding
 Procedures and the Bidding Procedures Order.

        PLEASE TAKE FURTHER NOTICE that the Debtors will seek approval of the Sale
 Transaction at a hearing scheduled to commence on or before December 7, 2023, at 11:00 a.m.
 (prevailing Eastern Time) (the “Sale Hearing”) before the Honorable Chief Judge Kaplan, at the
 United States Bankruptcy Court for the District of New Jersey, 402 East State Street, Courtroom 8,
 Trenton, New Jersey 08608.

         PLEASE TAKE FURTHER NOTICE that, except as otherwise set forth in the Bidding
 Procedures Order, objections to consummation or approval of the Sale and each Sale Transaction
 must (a) be in writing; (b) conform to the applicable provisions of the Bankruptcy Rules and the
 Local Rules; (c) state with particularity the legal and factual bases for the objection and the specific
 grounds therefor; and (d) be filed with the Court and served so as to be actually received on or
 before December 1, 2023, at 4:00 p.m. (prevailing Eastern Time) by the following parties:
 (i) the Debtors, Rite Aid Corporation, 1200 Intrepid Avenue, 2nd Floor, Philadelphia,
 Pennsylvania 19112; (ii) counsel to the Debtors, Kirkland & Ellis LLP, 601 Lexington Avenue,
 New York, New York 10022, Attn: Joshua A. Sussberg, P.C. (joshua.sussberg@kirkland.com),
 Aparna Yenamandra, P.C. (aparna.yenamandra@kirkland.com), Ross J. Fiedler
 (ross.fiedler@kirkland.com), and Zachary R. Manning (zach.manning@kirkland.com), 300 North
 LaSalle, Chicago, Illinois, 60654, Attn: Steve Toth (steve.toth@kirkland.com); (iii) co-counsel to
 the Debtors, Cole Schotz P.C., Court Plaza North, 25 Main Street, Hackensack, New Jersey 07601,
 Attn:        Michael      D.     Sirota     (msirota@coleschotz.com),         Warren     A.     Usatine
 (wusatine@coleschotz.com), Felice R. Yudkin (fyudkin@coleschotz.com), and Seth Van Aalten
 (svanaalten@coleschotz.com); (iv) Office of the United States Trustee for Region 3, District of
 New Jersey, Raymond Boulevard, Suite 2100, Newark, NJ 07102, Attn: Jeffrey M. Sponder and
 Lauren Bielskie; (vi) counsel to the DIP Agents, Choate, Hall & Stewart LLP, Two International
 Place, Boston, MA 02110, Attn: John F. Ventola (jventola@choate.com); Jonathan D. Marshall
 (jmarshall@choate.com); and Mark D. Silva (msilva@choate.com) and Greenberg Traurig, LLP,
 500 Campus Drive, Suite 400, Florham Park, New Jersey 07932, Attn: Alan J. Brody
 (brodya@gtlaw.com) and Oscar N. Pinkas (pinkaso@gtlaw.com); (vii) counsel to the Ad Hoc
 Secured Noteholder Group, Paul, Weiss, Rifkind, Wharton & Garrison, 1285 6th Avenue, New
 York, NY 10019, Attn: Andrew N. Rosenberg (arosenberg@paulweiss.com); Brian S. Hermann
 (bhermann@paulweiss.com); and Christopher Hopkins (chopkins@paulweiss.com) and Fox
 Rothschild LLP, 49 Market Street, Morristown, NJ 07960, Attn: Howard A. Cohen
 (hcohen@foxrothschild.com); Joseph J. DiPasquale (jdipasquale@foxrothschild.com) and
 Michael R. Herz (mherz@foxrothschild.com); (viii) proposed counsel to any statutory committee
 appointed in these chapter 11 cases; and (ix) counsel to any Stalking Horse Bidder.

          CONSEQUENCES OF FAILING TO TIMELY MAKE AN OBJECTION

      ANY PARTY OR ENTITY WHO FAILS TO TIMELY MAKE AN OBJECTION TO
 THE SALE OR A SALE TRANSACTION, AS APPLICABLE, ON OR BEFORE THE
 SALE OBJECTION DEADLINE IN ACCORDANCE WITH THE BIDDING

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 PROCEDURES ORDER SHALL BE FOREVER BARRED FROM ASSERTING ANY
 OBJECTION TO THE SALE, INCLUDING WITH RESPECT TO THE TRANSFER OF
 THE APPLICABLE DEBTORS’ ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
 ENCUMBRANCES, AND OTHER INTERESTS, EXCEPT AS MAY BE SET FORTH IN
 THE APPLICABLE PURCHASE AGREEMENT OR THE PLAN, AS APPLICABLE.




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Dated: [_____], 2023

                                       COLE SCHOTZ P.C.
                                       Michael D. Sirota, Esq.
                                       Warren A. Usatine, Esq.
                                       Felice R. Yudkin, Esq.
                                       Seth Van Aalten, Esq. (pro hac vice pending)
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                                                   fyudkin@coleschotz.com
                                                   svanaalten@coleschotz.com


                                       KIRKLAND & ELLIS LLP
                                       KIRKLAND & ELLIS INTERNATIONAL LLP
                                       Edward O. Sassower, P.C.
                                       Joshua A. Sussberg, P.C. (pro hac vice pending)
                                       Aparna Yenamandra, P.C. (pro hac vice pending)
                                       Ross J. Fiedler (pro hac vice pending)
                                       Zachary R. Manning (pro hac vice pending)
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                                                 aparna.yenamandra@kirkland.com
                                                 ross.fiedler@kirkland.com
                                                 zach.manning@kirkland.com

                                       Proposed Co-Counsel to the Debtors and
                                       Debtors in Possession




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                                  Schedule 1(b)

                          Rite Aid Retail Auction Notice
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                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEW JERSEY


 In re:                                                       Chapter 11

 RITE AID CORPORATION, et al.,                                Case No. 23-18993 (MBK)

                                     Debtors. 1               (Jointly Administered)



                     NOTICE OF SALE BY AUCTION AND SALE HEARING

         PLEASE TAKE NOTICE that on [__], 2023, the United States Bankruptcy Court for the
 District of New Jersey (the “Court”) entered the Order (I) Approving Bidding Procedures and Bid
 Protections, (II) Scheduling Certain Dates and Deadlines with Respect Thereto, (III) Approving
 the Form and Manner of Notice Thereof, (IV) Approving the Elixir Stalking Horse APA,
 (V) Establishing Notice and Procedures for the Assumption and Assignment of Contracts and
 Leases, (VI) Authorizing the Assumption and Assignment of Assumed Contracts, (VII) Authorizing
 the Sale of Assets, and (VIII) Granting Related Relief [Docket No. [__]] (the “Bidding Procedures
 Order”) 2 in the chapter 11 cases of the above-captioned debtors and debtors in possession
 (collectively, the “Debtors”).

        PLEASE TAKE FURTHER NOTICE that the Debtors are soliciting offers for the
 purchase of substantially all or a portion of the Rite Aid Retail Assets consistent with the bidding
 procedures (the “Bidding Procedures”) approved by the Court pursuant to the Bidding Procedures
 Order. All interested bidders should carefully read the Bidding Procedures and Bidding
 Procedures Order. To the extent that there are any inconsistencies between this notice and the
 Bidding Procedures or Bidding Procedures Order, the Bidding Procedures or Bidding Procedures
 Order, as applicable, shall govern in all respects.

        PLEASE TAKE FURTHER NOTICE that, if the Debtors receive qualified competing
 bids within the requirements and time frame specified by the Bidding Procedures, the Debtors will
 conduct an auction (the “Auction”) of the Rite Aid Retail Assets on December 4, 2023,
 at 10:00 a.m. (prevailing Eastern Time) at the offices of Kirkland & Ellis, 601 Lexington
 Avenue, New York, New York 10022, as arranged by counsel to the Debtors.

        PLEASE TAKE FURTHER NOTICE that, except as otherwise determined by the
 Debtors, in consultation with the Consultation Parties, only the Debtors, the Consultation Parties,

 1
      The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
      Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
      website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid.
      The location of Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in
      these chapter 11 cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
 2
      Capitalized terms used but not defined in this notice have the meanings given to them in the Bidding Procedures
      Order.
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 the U.S. Trustee, any Qualified Bidders, any party in interest (including any affected landlord),
 and, in each case, the respective representatives and professionals of the foregoing parties, shall
 be entitled to attend the Auction, and only Qualified Bidders will be entitled to make Overbids at
 the Auction. All interested or potentially affected parties should carefully read the Bidding
 Procedures and the Bidding Procedures Order.

        PLEASE TAKE FURTHER NOTICE that the Debtors will seek approval of the Sale
 Transaction at a hearing scheduled to commence on or before December 19, 2023, at 11:00 a.m.
 (prevailing Eastern Time) (the “Sale Hearing”) before the Honorable Chief Judge Kaplan, at the
 United States Bankruptcy Court for the District of New Jersey, 402 East State Street, Courtroom
 8, Trenton, New Jersey 08608.

         PLEASE TAKE FURTHER NOTICE that, except as otherwise set forth in the Bidding
 Procedures Order, objections to consummation or approval of the Sale and each Sale Transaction
 must (a) be in writing; (b) conform to the applicable provisions of the Bankruptcy Rules and the
 Local Rules; (c) state with particularity the legal and factual bases for the objection and the specific
 grounds therefor; and (d) be filed with the Court and served so as to be actually received on or
 before December 15, 2023, at 4:00 p.m. (prevailing Eastern Time) by the following parties:
 (i) the Debtors, Rite Aid Corporation, 1200 Intrepid Avenue, 2nd Floor, Philadelphia,
 Pennsylvania 19112; (ii) counsel to the Debtors, Kirkland & Ellis LLP, 601 Lexington Avenue,
 New York, New York 10022, Attn: Joshua A. Sussberg, P.C. (joshua.sussberg@kirkland.com),
 Aparna Yenamandra, P.C. (aparna.yenamandra@kirkland.com), Ross J. Fiedler
 (ross.fiedler@kirkland.com), and Zachary R. Manning (zach.manning@kirkland.com), 300 North
 LaSalle, Chicago, Illinois, 60654, Attn: Steve Toth (steve.toth@kirkland.com); (iii) co-counsel to
 the Debtors, Cole Schotz P.C., Court Plaza North, 25 Main Street, Hackensack, New Jersey 07601,
 Attn:        Michael      D.     Sirota     (msirota@coleschotz.com),         Warren     A.     Usatine
 (wusatine@coleschotz.com), Felice R. Yudkin (fyudkin@coleschotz.com), and Seth Van Aalten
 (svanaalten@coleschotz.com); (iv) Office of the United States Trustee for Region 3, District of
 New Jersey, Raymond Boulevard, Suite 2100, Newark, NJ 07102, Attn: Jeffrey M. Sponder and
 Lauren Bielskie; (vi) counsel to the DIP Agents, Choate, Hall & Stewart LLP, Two International
 Place, Boston, MA 02110, Attn: John F. Ventola (jventola@choate.com); Jonathan D. Marshall
 (jmarshall@choate.com); and Mark D. Silva (msilva@choate.com) and Greenberg Traurig, LLP,
 500 Campus Drive, Suite 400, Florham Park, New Jersey 07932, Attn: Alan J. Brody
 (brodya@gtlaw.com) and Oscar N. Pinkas (pinkaso@gtlaw.com); (vii) counsel to the Ad Hoc
 Secured Noteholder Group, Paul, Weiss, Rifkind, Wharton & Garrison, 1285 6th Avenue, New
 York, NY 10019, Attn: Andrew N. Rosenberg (arosenberg@paulweiss.com); Brian S. Hermann
 (bhermann@paulweiss.com); and Christopher Hopkins (chopkins@paulweiss.com) and Fox
 Rothschild LLP, 49 Market Street, Morristown, NJ 07960, Attn: Howard A. Cohen
 (hcohen@foxrothschild.com); Joseph J. DiPasquale (jdipasquale@foxrothschild.com) and
 Michael R. Herz (mherz@foxrothschild.com); (viii) proposed counsel to any statutory committee
 appointed in these chapter 11 cases; and (ix) counsel to any Stalking Horse Bidder.

          CONSEQUENCES OF FAILING TO TIMELY MAKE AN OBJECTION

      ANY PARTY OR ENTITY WHO FAILS TO TIMELY MAKE AN OBJECTION TO
 THE SALE OR A SALE TRANSACTION, AS APPLICABLE, ON OR BEFORE THE
 SALE OBJECTION DEADLINE IN ACCORDANCE WITH THE BIDDING

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 PROCEDURES ORDER SHALL BE FOREVER BARRED FROM ASSERTING ANY
 OBJECTION TO THE SALE, INCLUDING WITH RESPECT TO THE TRANSFER OF
 THE APPLICABLE DEBTORS’ ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
 ENCUMBRANCES, AND OTHER INTERESTS, EXCEPT AS MAY BE SET FORTH IN
 THE APPLICABLE PURCHASE AGREEMENT OR THE PLAN, AS APPLICABLE.




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Dated: [_____], 2023

                                       COLE SCHOTZ P.C.
                                       Michael D. Sirota, Esq.
                                       Warren A. Usatine, Esq.
                                       Felice R. Yudkin, Esq.
                                       Seth Van Aalten, Esq. (pro hac vice pending)
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                                                   svanaalten@coleschotz.com


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                                       KIRKLAND & ELLIS INTERNATIONAL LLP
                                       Edward O. Sassower, P.C.
                                       Joshua A. Sussberg, P.C. (pro hac vice pending)
                                       Aparna Yenamandra, P.C. (pro hac vice pending)
                                       Ross J. Fiedler (pro hac vice pending)
                                       Zachary R. Manning (pro hac vice pending)
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                                       New York, New York 10022
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                                                 aparna.yenamandra@kirkland.com
                                                 ross.fiedler@kirkland.com
                                                 zach.manning@kirkland.com

                                       Proposed Co-Counsel to the Debtors and
                                       Debtors in Possession




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                                   Schedule 2

                            Elixir Stalking Horse APA

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                                    Exhibit 2

               Notice of Successful Bidder and Contract Assumption
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     KIRKLAND & ELLIS LLP                                     COLE SCHOTZ P.C.
     KIRKLAND & ELLIS INTERNATIONAL LLP                       Michael D. Sirota, Esq.
     Edward O. Sassower, P.C.                                 Warren A. Usatine, Esq.
     Joshua A. Sussberg, P.C. (pro hac vice pending)          Felice R. Yudkin, Esq.
     Aparna Yenamandra, P.C. (pro hac vice pending)           Seth Van Aalten, Esq. (pro hac vice pending)
     Ross J. Fiedler (pro hac vice pending)                   Court Plaza North, 25 Main Street
     Zachary R. Manning (pro hac vice pending)                Hackensack, New Jersey 07601
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     aparna.yenamandra@kirkland.com
     ross.fiedler@kirkland.com                                Proposed Co-Counsel to the Debtors and
     zach.manning@kirkland.com                                Debtors in Possession


     Proposed Co-Counsel to the Debtors and
     Debtors in Possession


                                    UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NEW JERSEY


 In re:                                                        Chapter 11

 RITE AID CORPORATION, et al.,                                 Case No. 23-18993 (MBK)

                                      Debtors. 1               (Jointly Administered)



                  NOTICE OF SUCCESSFUL BIDDER AND POTENTIALLY
               ASSUMED EXECUTORY CONTRACTS AND UNEXPIRED LEASES


                        YOU ARE RECEIVING THIS NOTICE BECAUSE YOU
                    OR ONE OF YOUR AFFILIATES ARE A COUNTERPARTY TO AN
                EXECUTORY CONTRACT OR UNEXPIRED LEASE WITH ONE OR MORE
                OF THE DEBTORS AS SET FORTH ON EXHIBIT A ATTACHED HERETO.

          PLEASE TAKE NOTICE that on [__], 2023, the United States Bankruptcy Court for the District
 of New Jersey (the “Court”) entered the Order (I) Approving Bidding Procedures and Bid Protections,
 (II) Scheduling Certain Dates and Deadlines with Respect Thereto, (III) Approving the Form and Manner
 of Notice Thereof, (IV) Approving the Elixir Stalking Horse APA, (V) Establishing Notice and Procedures

 1     The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
       Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
       website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid.
       The location of Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in
       these chapter 11 cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
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 for the Assumption and Assignment of Contracts and Leases, (VI) Authorizing the Assumption and
 Assignment of Assumed Contracts, (VII) Authorizing the Sale of Assets, and (VIII) Granting Related Relief,
 [Docket No. [__]] (the “Bidding Procedures Order”) 2 in the chapter 11 cases of the above-captioned debtors
 and debtors in possession (collectively, the “Debtors”).

          PLEASE TAKE FURTHER NOTICE that on [__], 2023, the Debtors conducted an Auction of
 certain of their Assets, pursuant to the Bidding Procedures Order.

         PLEASE TAKE FURTHER NOTICE that in accordance with the Bidding Procedures Order and
 following the completion of the Auction, the Debtors, in consultation with the Consultation Parties, have
 determined [__] to be the Successful Bidder.

          PLEASE TAKE FURTHER NOTICE that pursuant to the Bidding Procedures Order, the
 applicable Sale Hearing to consider approval of the Sale Transaction to the Successful Bidder is currently
 scheduled to take place, with respect to Elixir Assets, on December 7, 2023, at 11:00 a.m., prevailing
 Eastern Time, and with respect to Rite Aid Retail Assets, on December 19, 2023, at 11:00 a.m., prevailing
 Eastern Time, before the Honorable Chief Judge Kaplan, at the United States Bankruptcy Court for the
 District of New Jersey, 402 East State Street, Courtroom 8, Trenton, New Jersey 08608.

          PLEASE TAKE FURTHER NOTICE that, pursuant to the Bidding Procedures and the terms of
 any Successful Bid, the Debtors may assume and assign to the Successful Bidder the contract or agreement
 listed on Exhibit A to which you are a counterparty, upon approval of the Sale Transaction. The Debtors
 have conducted a review of their books and records and have determined that the Cure Payments for unpaid
 monetary obligations under such Executory Contract or Unexpired Lease is as set forth on Exhibit A.

          PLEASE TAKE FURTHER NOTICE that if you disagree with the proposed Cure Payments,
 object to a proposed assignment to the Successful Bidder of any Executory Contract or Unexpired Lease,
 or dispute the ability of the Successful Bidder to provide adequate assurance of future performance with
 respect to any Contract, or otherwise object to the applicable Sale Transaction, your objection must: (i) be
 in writing; (ii) comply with the applicable provisions of the Bankruptcy Rules, Local Bankruptcy Rules,
 and any order governing the administration of these chapter 11 cases; (iii) state with specificity the nature
 of the objection and, if the objection pertains to the proposed Cure Payments, state the correct Cure
 Payments alleged to be owed to the objecting contract counterparty, together with any applicable and
 appropriate documentation in support thereof; and (iv) be filed with the Court and served and actually
 received no later than December 1, 2023 at 5:00 p.m. (prevailing Eastern Time) (the “Elixir Cure
 Objection Deadline”) or December 15, 2023 at 5:00 p.m. (prevailing Eastern Time) (the “Rite Aid
 Retail Cure Objection Deadline,” and together with the Elixir Cure Objection Deadline, the “Cure
 Objection Deadline”), as applicable, by the Court and the following parties: (i) the Debtors, Rite Aid
 Corporation, 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112; (ii) counsel to the
 Debtors, Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New York 10022, Attn: Joshua A.
 Sussberg,           P.C.          (joshua.sussberg@kirkland.com),             Aparna            Yenamandra
 (aparna.yenamandra@kirkland.com), Ross J. Fiedler (ross.fiedler@kirkland.com), and Zachary R.
 Manning (zach.manning@kirkland.com), 300 North LaSalle, Chicago, Illinois, 60654, Attn: Steve Toth
 (steve.toth@kirkland.com); (iii) co-counsel to the Debtors, Cole Schotz P.C., Court Plaza North, 25 Main
 Street, Hackensack, New Jersey 07601, Attn: Michael D. Sirota (msirota@coleschotz.com), Warren A.


 2   Capitalized terms used but not defined in this notice have the meanings given to them in the Bidding Procedures
     Order.



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 Usatine (wusatine@coleschotz.com), Felice R. Yudkin (fyudkin@coleschotz.com), and Seth Van Aalten
 (svanaalten@coleschotz.com); (iv) Office of the United States Trustee for Region 3, District of New Jersey,
 Raymond Boulevard, Suite 2100, Newark, NJ 07102, Attn: Jeffrey M. Sponder and Lauren Bielskie;
 (vi) counsel to the DIP Agents, Choate, Hall & Stewart LLP, Two International Place, Boston, MA 02110,
 Attn: John F. Ventola (jventola@choate.com); Jonathan D. Marshall (jmarshall@choate.com); and Mark
 D. Silva (msilva@choate.com) and Greenberg Traurig, LLP, 500 Campus Drive, Suite 400, Florham Park,
 New Jersey 07932, Attn: Alan J. Brody (brodya@gtlaw.com) and Oscar N. Pinkas (pinkaso@gtlaw.com);
 (vii) counsel to the Ad Hoc Secured Noteholder Group, Paul, Weiss, Rifkind, Wharton & Garrison, 1285
 6th Avenue, New York, NY 10019, Attn: Andrew N. Rosenberg (arosenberg@paulweiss.com); Brian S.
 Hermann (bhermann@paulweiss.com); and Christopher Hopkins (chopkins@paulweiss.com) and Fox
 Rothschild LLP, 49 Market Street, Morristown, NJ 07960, Attn: Howard A. Cohen
 (hcohen@foxrothschild.com); Joseph J. DiPasquale (jdipasquale@foxrothschild.com) and Michael R. Herz
 (mherz@foxrothschild.com); (viii) proposed counsel to any statutory committee appointed in these chapter
 11 cases; and (viii) counsel to any Stalking Horse Bidder.

          PLEASE TAKE FURTHER NOTICE that if no objection to (a) the Cure Payments, (b) the
 proposed assignment and assumption of any Executory Contract or Unexpired Lease, or (c) adequate
 assurance of the Successful Bidder’s ability to perform is filed by the applicable Cure Objection Deadline,
 then (i) you will be deemed to have stipulated that the Cure Payments as determined by the Debtors are
 correct, (ii) you will be forever barred, estopped, and enjoined from asserting any additional Cure Payments
 are due under the Executory Contract or Unexpired Lease, and (iii) you will be forever barred, estopped,
 and enjoined from objecting to such proposed assignment to the Successful Bidder on the grounds that the
 Successful Bidder has not provided adequate assurance of future performance as of the closing date of the
 Sale Transaction.

        PLEASE TAKE FURTHER NOTICE that any objection to the proposed assumption and
 assignment of an Executory Contract or Unexpired Lease or related Cure Payments in connection with the
 Successful Bid that otherwise complies with these procedures yet remains unresolved as of the
 commencement of the Sale Hearing, shall be heard at a later date as may be fixed by the Court.

         PLEASE THAT FURTHER NOTICE that, notwithstanding anything herein, the mere listing of
 any Executory Contract or Unexpired Lease on this Notice of Successful Bidder and Contract Assumption
 or any Supplemental Assumption Notice does not require or guarantee that such Executory Contract or
 Unexpired Lease will be assumed by the Debtors at any time or assumed and assigned, and all rights of the
 Debtors and the Successful Bidder with respect to such Executory Contracts and/or Unexpired Leases are
 reserved. Moreover, the Debtors explicitly reserve the right, in their reasonable discretion, to seek to reject
 or assume each Executory Contract or Unexpired Lease pursuant to section 365(a) of the Bankruptcy Code
 and in accordance with the procedures allowing the Debtors and/or the Successful Bidder, as applicable, to
 designate any Executory Contract or Unexpired Lease as either rejected or assumed on a post-closing basis.

          PLEASE TAKE FURTHER NOTICE that, nothing herein (i) alters in any way the prepetition
 nature of the Executory Contracts or Unexpired Leases or the validity, priority, or amount of any claims of
 a counterparty to any Contract against the Debtors that may arise under such Executory Contract or
 Unexpired Lease, (ii) creates a postpetition contract or agreement, or (iii) elevates to administrative expense
 priority any claims of a counterparty to any Executory Contract or Unexpired Lease against the Debtors
 that may arise under such Executory Contract or Unexpired Lease




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Dated: [_____], 2023

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                                       Proposed Co-Counsel to the Debtors and
                                       Debtors in Possession
